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Table 1: Cases in which the government recommended a probation sentence without home detention1
Defendant           Case Number                Offense of Conviction           Government Recommendation                Sentence Imposed
Name
Morgan-Lloyd,       1:21-CR-00164-RCL          40 U.S.C. § 5104(e)(2)(G)  36 months’ probation                          36 months’ probation
Anna                                                                      40 hours’ community service                   120 hours’ community service
                                                                          $500 restitution                              $500 restitution
Ehrke, Valerie      1:21-CR-00097-PLF          40 U.S.C. § 5104(e)(2)(G) 36 months’ probation                           36 months’ probation
                                                                          40 hours’ community service                   120 hours’ community service
                                                                          $500 restitution                              $500 restitution
Bissey, Donna       1:21-CR-00165-TSC          40 U.S.C. § 5104(e)(2)(G) 36 months’ probation                           14 days’ incarceration
                                                                          40 hours’ community service                   60 hours’ community service
                                                                          $500 restitution                              $500 restitution
Hiles, Jacob        1:21-CR-00155-ABJ          40 U.S.C. § 5104(e)(2)(G) 36 months’ probation                           24 months’ probation
                                                                          60 hours’ community service                   60 hours’ community service
                                                                          $500 restitution                              $500 restitution
Wangler,            1:21-CR-00365-DLF          40 U.S.C. § 5104(e)(2)(G) 36 months’ probation                           24 months’ probation
Douglas                                                                   40 hours’ community service                   60 hours’ community service
                                                                          $500 restitution                              $500 restitution
Harrison, Bruce     1:21-CR-00365-DLF          40 U.S.C. § 5104(e)(2)(G) 48 months’ probation                           24 months’ probation
                                                                          40 hours’ community service                   60 hours’ of community service
                                                                          $500 restitution                              $500 restitution
Sizer, Brian        1:22-CR-00376-JEB          40 U.S.C. § 5104(e)(2)(D), 36 months’ probation                          12 months’ probation
                                               (e)(2)(G)                  $500 restitution                              $500 restitution




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  Early in this investigation, the Government made a very limited number of plea offers in misdemeanor cases that included an agreement to recommend
probation in United States v. Anna Morgan-Lloyd, 1:21-cr-00164(RCL); United States v. Valerie Elaine Ehrke, 1:21-cr-00097(PFF); United States v. Donna Sue
Bissey, 1:21-cr-00165(TSC), United States v. Douglas K. Wangler, 1:21-cr-00365(DLF), and United States v. Bruce J. Harrison, 1:21-cr-00365(DLF). The
government is abiding by its agreements in those cases, but has made no such agreement in this case. Cf. United States v. Rosales-Gonzales, 801 F.3d 1177, 1183
(9th Cir. 2015) (no unwarranted sentencing disparities under 18 U.S.C. § 3553(a)(6) between defendants who plead guilty under a “fast-track” program and those
who do not given the “benefits gained by the government when defendants plead guilty early in criminal proceedings”) (citation omitted).

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Table 2: Cases in which the government recommended a probation sentence with home detention

Defendant         Case Number            Offense of Conviction       Government Recommendation     Sentence Imposed
Name
Bustle, Jessica   1:21-CR-00238-TFH      40 U.S.C. § 5104(e)(2)(G)   3 months’ home detention      60 days’ home detention
                                                                     36 months’ probation          24 months’ probation
                                                                     40 hours’ community service   40 hours’ community service
                                                                     $500 restitution              $500 restitution
Bustle, Joshua    1:21-CR-00238-TFH      40 U.S.C. § 5104(e)(2)(G)   30 days’ home detention       30 days’ home detention
                                                                     36 months’ probation          24 months’ probation
                                                                     40 hours’ community service   40 hours’ community service
                                                                     $500 restitution              $500 restitution
Doyle, Danielle   1:21-CR-00324-TNM 40 U.S.C. § 5104(e)(2)(G)        2 months’ home detention      60 days’ probation
                                                                     36 months’ probation          $3,000 fine
                                                                     60 hours’ community service   $500 restitution
                                                                     $500 restitution
Bennett,          1:21-CR-00227-JEB      40 U.S.C. § 5104(e)(2)(G)   3 months’ home detention      3 months’ home detention
Andrew                                                               36 months’ probation          24 months’ probation
                                                                     60 hours’ community service   80 hours’ community service
                                                                     $500 restitution              $500 restitution
Mazzocco,         1:21-CR-00054-TSC      40 U.S.C. § 5104(e)(2)(G)   3 months’ home detention      45 days’ incarceration
Matthew                                                              36 months’ probation          60 hours’ community service
                                                                     60 hours’ community service   $500 restitution
                                                                     $500 restitution
Rosa, Eliel       1:21-CR-00068-TNM 40 U.S.C. § 5104(e)(2)(G)        30 days’ home detention       12 months’ probation
                                                                     36 months’ probation          100 hours’ community service
                                                                     60 hours’ community service   $500 restitution
                                                                     $500 restitution




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Gallagher,          1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)   30 days’ home detention       24 months’ probation
Thomas                                                              36 months’ probation          60 hours’ community service
                                                                    60 hours’ community service   $500 restitution
                                                                    $500 restitution
Vinson, Thomas      1:21-CR-00355-      40 U.S.C. § 5104(e)(2)(G)   3 months’ home detention      5 years’ probation
                    RBW                                             3 years’ probation            $5,000 fine
                                                                    60 hours’ community service   120 hours’ community service
                                                                    $500 restitution              $500 restitution
Dillon, Brittiany   1:21-CR-00360-DLF   40 U.S.C. § 5104(e)(2)(D)   3 months’ home detention      60 days’ home detention
                                                                    36 months’ probation          36 months’ probation
                                                                    60 hours’ community service   $500 restitution
                                                                    $500 restitution
Sanders,            1:21-CR-00384-CJN   40 U.S.C. § 5104(e)(2)(G)   60 days’ home detention       36 months’ probation
Jonathan                                                            36 months’ probation          60 hours’ community service
                                                                    60 hours’ community service   $500 restitution
                                                                    $500 restitution
Fitchett, Cindy     1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)   60 days’ home detention       30 days’ home detention
                                                                    36 months’ probation          36 months’ probation
                                                                    60 hours’ community service   60 hours’ community service
                                                                    $500 restitution              $500 restitution
Sweet, Douglas      1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)   3 months’ home detention      30 days’ home detention
                                                                    36 months’ probation          36 months’ probation
                                                                    60 hours’ community service   60 hours’ community service
                                                                    $500 restitution              $500 restitution
Cordon, Sean        1:21-CR-00269-TNM 40 U.S.C. § 5104(e)(2)(G)     3 months’ home detention      60 days’ probation
                                                                    36 months’ probation          $4000 fine
                                                                    60 hours’ community service   $500 restitution
                                                                    $500 restitution




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Wilkerson, John   1:21-CR-00302-CRC   40 U.S.C. § 5104(e)(2)(G)       60 days’ home detention       36 months’ probation
IV                                                                    36 months’ probation          $2500 fine
                                                                      60 hours’ community service   60 hours’ community service
                                                                      $500 restitution              $500 restitution
Jones, Caleb      1:21-CR-00321-JEB   40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention      60 days’ home detention
                                                                      36 months’ probation          24 months’ probation
                                                                      60 hours’ community service   100 hours’ community service
                                                                      $500 restitution              $500 restitution
Brown, Terry      1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)       45 days’ home detention       30 days’ home detention
                                                                      36 months’ probation          36 months’ probation
                                                                      60 hours’ community service   60 hours’ community service
                                                                      $500 restitution              $500 restitution
Wrigley,          1:21-CR-00042-ABJ   40 U.S.C. § 5104(e)(2)(G)       60 days’ home detention       18 months’ probation
Andrew                                                                36 months’ probation          $2000 fine
                                                                      60 hours’ community service   60 hours’ community service
                                                                      $500 restitution              $500 restitution
Parks, Jennifer   1:21-CR-00363-CJN   40 U.S.C. § 5104(e)(2)(G)       30 days’ home detention       24 months’ probation
                                                                      36 months’ probation          60 hours’ community service
                                                                      60 hours’ community service   $500 restitution
                                                                      $500 restitution
Reimler,          1:21-CR-00239-RDM   40 U.S.C. § 5104(e)(2)(G)       60 days’ home detention       30 days’ home detention
Nicholas                                                              36 months’ probation          36 months’ probation
                                                                      60 hours’ community service   60 hours’ community service
                                                                      $500 restitution              $500 restitution
Miller, Brandon   1:21-CR-00266-TSC   40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention      20 days’ incarceration
                                                                      36 months’ probation          60 hours’ community service
                                                                      60 hours’ community service   $500 restitution
                                                                      $500 restitution
Miller,           1:21-CR-00266-TSC   40 U.S.C. § 5104(e)(2)(G)       60 days’ home detention       14 days’ incarceration
Stephanie                                                             36 months’ probation          60 hours’ community service
                                                                      60 hours’ community service   $500 restitution
                                                                      $500 restitution
Hatley, Andrew    1:21-CR-00098-TFH   40 U.S.C. § 5104(e)(2)(G)       60 days’ home detention       36 months’ probation
                                                                      36 months’ probation          $500 restitution
                                                                      60 hours’ community service
                                                                      $500 restitution

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Pert, Rachael     1:21-CR-00139-TNM   18 U.S.C. § 1752(a)(1)          3 months’ home detention      24 months’ probation
                                                                      24 months’ probation          100 hours’ community service
                                                                      40 hours’ community service   $500 restitution
                                                                      $500 restitution
Winn, Dana        1:21-CR-00139-TNM   18 U.S.C. § 1752(a)(1)          3 months’ home detention      10 days’ incarceration
                                                                      24 months’ probation          12 months’ probation
                                                                      40 hours’ community service   100 hours’ community service
                                                                      $500 restitution              $500 restitution
Wickersham,       1:21-CR-00606-RCL   40 U.S.C. § 5104(e)(2)(G)       4 months’ home detention      3 months’ home detention
Gary                                                                  36 months’ probation          36 months’ probation
                                                                      60 hours’ community service   $2000 fine
                                                                      $500 restitution              $500 restitution
Schwemmer,        1:21-CR-00364-DLF   40 U.S.C. § 5104(e)(2)(G)       30 days’ home detention       24 months’ probation
Esther                                                                36 months’ probation          60 hours’ community service
                                                                      60 hours’ community service   $500 restitution
                                                                      $500 restitution
Kelly, Kenneth    1:21-CR-00331-CKK   40 U.S.C. § 5104(e)(2)(G)       60 days’ home detention       60 days’ home detention
                                                                      36 months’ probation          12 months’ probation
                                                                      60 hours’ community service   $500 restitution
                                                                      $500 restitution
Straka, Brandon   1:21-cr-00579-DLF   40 U.S.C. § 5104(e)(2)(D)       4 months’ home detention      3 months’ home detention
                                                                      36 months’ probation          36 months’ probation
                                                                      60 hours’ community service   $5000 fine
                                                                      $500 restitution              60 hours’ community service
                                                                                                    $500 restitution
Sizer, Julia      1:21-CR-00621-CRC   40 U.S.C. § 5104(e)(2)(G)       60 days’ home detention       12 months’ probation
                                                                      36 months’ probation          $2,000 fine
                                                                      60 hours’ community service   $500 restitution
                                                                      $500 restitution
Blauser,          1:21-CR-00386-TNM   40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention      $500 fine
William                                                               36 months’ probation          $500 restitution
                                                                      60 hours’ community service
                                                                      $500 restitution




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Barnard,           1:21-CR-00235-RC    40 U.S.C. § 5104(e)(2)(G)       30 days’ home detention        30 days’ home detention
Richard                                                                36 months’ probation           12 months’ probation
                                                                       60 hours’ community service    60 hours’ community service
                                                                       $500 restitution               $500 restitution
Witcher, Jeffrey   1:21-CR-00235-RC    18 U.S.C. § 1752(a)(1)          60 days’ home detention        12 months’ probation
                                                                       36 months’ probation           60 hours’ community service
                                                                       60 hours’ community service    $500 restitution
                                                                       $500 restitution
McAlanis,          1:21-CR-00516-DLF   40 U.S.C. § 5104(e)(2)(G)       60 days’ home detention        24 months’ probation
Edward                                                                 36 months’ probation           60 hours’ community service
                                                                       60 hours’ community service    $500 restitution
                                                                       $500 restitution
Lollis, James      1:21-CR-00671-BAH   40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention       3 months’ home detention
                                                                       36 months’ probation           36 months’ probation
                                                                       100 hours’ community service   100 hours’ community service
                                                                       $500 restitution               $500 restitution
Schubert, Amy      1:21-CR-00588-ABJ   40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention       18 months’ probation
                                                                       36 months’ probation           $2000 fine
                                                                       60 hours’ community service    100 hours’ community service
                                                                       $500 restitution               $500 restitution
Schubert, John     1:21-CR-00587-ABJ   40 U.S.C. § 5104(e)(2)(G)       60 days’ home detention        18 months’ probation
                                                                       36 months’ probation           $1500 fine
                                                                       60 hours’ community service    100 hours’ community service
                                                                       $500 restitution               $500 restitution
Orangias,          1:21-CR-00265-CKK   40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention       3 months’ home detention
Michael                                                                36 months’ probation           36 months’ probation
                                                                       $500 restitution               $500 restitution
Quick, Michael     1:21-CR-00201-DLF   40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention       36 months’ probation
                                                                       36 months’ probation           $1000 fine
                                                                       $500 restitution               60 hours’ community service
                                                                                                      $500 restitution
Quick, Stephen     1:21-CR-00201-DLF   40 U.S.C. § 5104(e)(2)(G)       60 days’ home detention        24 months’ probation
                                                                       36 months’ probation           $1000 fine
                                                                       $500 restitution               60 hours’ community service
                                                                                                      $500 restitution
Reda, Kenneth      1:21-CR-00452-TFH   40 U.S.C. § 5104(e)(2)(G)       60 days’ home detention        60 days’ home detention

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                                                                      36 months’ probation          36 months’ probation
                                                                      60 hours’ community service   60 hours’ community service
                                                                      $500 restitution              $500 restitution
McCreary,         1:21-CR-00125-BAH   18 U.S.C. § 1752(a)(1)          3 months’ home detention      42 days’ intermittent incarceration
Brian                                                                 36 months’ probation          60 days’ home detention
                                                                      60 hours’ community service   36 months’ probation
                                                                      $500 restitution              $2,500 fine
                                                                                                    $500 restitution
Colbath, Paul     1:21-CR-00650-RDM   40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention      30 days’ home detention
                                                                      36 months’ probation          36 months’ probation
                                                                      60 hours’ community service   60 hours’ community service
                                                                      $500 restitution              $500 restitution
Lewis, Jacob      1:21-CR-00100-CRC   40 U.S.C. § 5104(e)(2)(G)       60 days’ home detention       24 months’ probation
                                                                      36 months’ probation          $3000 fine
                                                                      60 hours’ community service   60 hours’ community service
                                                                      $500 restitution              $500 restitution
Lentz, Nicholes   1:22-CR-00053-RDM   18 U.S.C. § 1752(a)(1)          60 days’ home detention       30 days’ home detention
                                                                      36 months’ probation          36 months’ probation
                                                                                                    100 hours’ community service
                                                                                                    $500 restitution
Daughtry,         1:21-CR00141-RDM    18 U.S.C. § 1752(a)(1)          4 months’ home detention      60 days’ home detention
Michael                                                               36 months’ probation          36 months’ probation
                                                                      $500 restitution              $500 restitution
Juran, John       1:21-CR-00419-TFH   40 U.S.C. § 5104(e)(2)(G)       60 days’ home detention       60 days’ home detention
                                                                      36 months’ probation          36 months’ probation
                                                                      60 hours’ community service   $500 fine
                                                                      $500 restitution              $500 restitution
Genco, Raechel    1:22-CR-00062-JMC   40 U.S.C. § 5104(e)(2)(G)       30 days’ home detention       12 months’ probation
                                                                      36 months’ probation          60 hours’ community service
                                                                      60 hours’ community service   $500 restitution
                                                                      $500 restitution
Macrae,           1:22-CR-00181-JEB   40 U.S.C. § 5104(e)(2)(G)       4 months’ home detention      12 months’ probation
Douglas                                                               36 months’ probation          150 hours’ community service
Farquhar                                                              60 hours’ community service   $500 restitution
                                                                      $500 restitution
Seymour, Paul     1:22-CR-00041-APM   40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention      12 months’ probation

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SR.                                                                    36 months’ probation          60 hours’ community service
                                                                       60 hours’ community service   $500 restitution
                                                                       $500 restitution
Seymour, Paul      1:22-CR-00041-APM   40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention      12 months’ probation
Jr.                                                                    36 months’ probation          60 hours’ community service
                                                                       60 hours’ community service   $500 restitution
                                                                       $500 restitution
Ferguson, Jamie    1:22-CR-00194-APM   40 U.S.C. § 5104(e)(2)(G)       24 months’ probation          24 months’ probation
                                                                       30 days’ home detention       60 hours’ community service
                                                                       60 hours’ community service   $500 restitution
                                                                       $500 restitution
Fontanez-          1:22-CR-00256-EGS   40 U.S.C. § 5104(e)(2)(G)       30 days’ home detention       12 months’ probation
Rodriguez,                                                             36 months’ probation          50 hours’ community service
Samuel                                                                 60 hours’ community service   $500 restitution
                                                                       $500 restitution
Bostic, Karegan    1:21-CR-00643-CKK   40 U.S.C. 5104(e)(2)(G)         30 days’ home detention       30 days’ home detention
                                                                       36 months’ probation          36 months’ probation
                                                                       $500 restitution              $500 restitution
Bostic, Willard    1:21-CR-00643-CKK   40 U.S.C. 5104(e)(2)(G)         90 days’ home detention       90 days’ home detention
Jr.                                                                    36 months’ probation          36 months’ probation
                                                                       $500 restitution              40 hours community service
                                                                                                     $500 restitution
McFadden,          1:21-CR-00248-RDM   40 U.S.C. § 5104(e)(2)(G)       90 days’ home detention       30 days’ home detention
Tyrone                                                                 36 months’ probation          24 months’ probation
                                                                       60 hours’ community service   60 hours’ community service
                                                                       $500 restitution              $500 restitution
Mileur, Aaron      1:21-CR-00248-RDM   40 U.S.C. § 5104(e)(2)(G)       90 days’ home detention       30 days’ home detention
                                                                       36 months’ probation          24 months’ probation
                                                                       60 hours’ community service   60 hours’ community service
                                                                       $500 restitution              $500 restitution
Williams, Carrie   1:21-CR-00248-RDM   40 U.S.C. § 5104(e)(2)(G)       90 days’ home detention       30 days’ home detention
                                                                       36 months’ probation          24 months’ probation
                                                                       60 hours’ community service   60 hours’ community service
                                                                       $500 restitution              $500 restitution
Rutledge,          1:21-CR-00643-CKK   40 U.S.C. 5104(e)(2)(G)         90 days’ home detention       90 days’ home detention
Meghan                                                                 36 months’ probation          36 months’ probation

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                                                                            60 hours’ community service   60 hours’ community service
                                                                            $500 restitution              $500 restitution
Saer, Lilith      1:22-CR-00374-DLF       40 U.S.C. § 5104(e)(2)(D)         60 days’ home detention       36 months’ probation
                                          and (G)                           36 months’ probation          200 hours community service
                                                                            60 hours community service    $500 restitution
                                                                            $500 restitution
Cantrell, Eric    1:22-CR-00121-TNM       18 U.S.C. § 1752(a)(1),           30 days’ home detention       3 months’ probation
                                          (a)(2);                           36 months’ probation          40 hours’ community service
                                          40 U.S.C. § 5104(e)(2)(D),        60 hours’ community service   $500 restitution
                                          (e)(2)(G)                         $500 restitution


Table 3: Cases in which the government recommended a sentence of incarceration

Defendant         Case Number             Offense of Conviction            Government Recommendation      Sentence Imposed
Name
Curzio, Michael   1:21-CR-00041-CJN       40 U.S.C. § 5104(e)(2)(G)        6 months’ incarceration        6 months’ incarceration
                                                                                                          $500 restitution
Hodgkins, Paul    1:21-CR-00188-RDM       18 U.S.C. § 1512(c)(2)           18 months’ incarceration       8 months’ incarceration
                                                                                                          24 months’ supervised release
                                                                                                          $2000 restitution
Dresch, Karl      1:21-CR-00071-ABJ       40 U.S.C. § 5104(e)(2)(G)        6 months’ incarceration        6 months’
                                                                           $1000 fine                     $500 restitution
                                                                           $500 restitution
Jancart, Derek    1:21-CR-00148-JEB       40 U.S.C. § 5104(e)(2)(D)        4 months’ incarceration        45 days’ incarceration
                                                                           $500 restitution               $500 restitution
Rau, Erik         1:21-CR-00467-JEB       40 U.S.C. § 5104(e)(2)(D)        4 months’ incarceration        45 days’ incarceration
                                                                           $500 restitution               $500 restitution
Hemenway,         1:21-CR-00049-TSC       40 U.S.C. § 5104(e)(2)(G)        30 days’ incarceration         45 days’ incarceration
Edward                                                                     $500 restitution               60 hours’ community service
                                                                                                          $500 restitution
Reeder, Robert    1:21-CR-00166-TFH       40 U.S.C. § 5104(e)(2)(G)        6 months’ incarceration        3 months’ incarceration
                                                                           $500 restitution               $500 restitution
Bauer, Robert     1:21-CR-00049-TSC       40 U.S.C. § 5104(e)(2)(G)        30 days’ incarceration         45 days’ incarceration
                                                                           $500 restitution               60 hours’ community service
                                                                                                          $500 restitution


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Smocks, Troy      1:21-CR-00198-TSC   18 U.S.C. § 875(c)           Low end of sentencing           14 months’ incarceration
                                                                   guidelines                      36 months’ supervised release
                                                                   36 months’ supervised release
Vinson, Lori      1:21-CR-00355-RBW   40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration          60 months’ probation
                                                                   $500 restitution                $5,000 fine
                                                                                                   120 hours’ community service
                                                                                                   $500 restitution
Griffith, Jack    1:21-CR-00204-BAH   40 U.S.C. § 5104(e)(2)(G)    3 months’ incarceration         3 months’ home detention
                                                                   $500 restitution                36 months’ probation
                                                                                                   $500 restitution
Torrens, Eric     1:21-CR-00204-BAH   40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration          3 months’ home detention
                                                                   $500 restitution                36 months’ probation
                                                                                                   $500 restitution
Gruppo,           1:21-CR-00391-BAH   40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration          3 months’ home detention
Leonard                                                            $500 restitution                24 months’ probation
                                                                                                   $3,000 fine
                                                                                                   $500 restitution
Ryan, Jennifer    1:21-CR-00050-CRC   40 U.S.C. § 5104(e)(2)(G)    60 days’ incarceration          60 days’ incarceration
                                                                   $500 restitution                $1000 fine
                                                                                                   $500 restitution
Croy, Glenn       1:21-CR-00162-BAH   40 U.S.C. § 5104(e)(2)(G)    60 days’ incarceration          3 months’ home detention
                                                                   $500 restitution                36 months’ probation
                                                                                                   $500 restitution
Stotts, Jordan    1:21-CR-00272-TJK   40 U.S.C. § 5104(e)(2)(G)    45 days’ incarceration          60 days’ home detention
                                                                   $500 restitution                24 months’ probation
                                                                                                   60 hours’ community service
                                                                                                   $500 restitution
Fairlamb, Scott   1:21-CR-00120-RCL   18 U.S.C. § 1512(c)(2)       44 months’ incarceration        41 months’ incarceration
                                      18 U.S.C. § 111(a)(1)        36 months’ supervised release   36 months’ supervised release
                                                                   $2000 fine                      $2000 restitution
Camper, Boyd      1:21-CR-00325-CKK   40 U.S.C. § 5104(e)(2)(G)    60 days’ incarceration          60 days’ incarceration
                                                                   $500 restitution                60 hours’ community service
                                                                                                   $500 restitution
Rukstales,        1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)    45 days’ incarceration          30 days’ incarceration
Bradley                                                            $500 restitution                $500 restitution
Cordon, Kevin     1:21-CR-00277-TNM   18 U.S.C. § 1752(a)(1)       30 days’ incarceration          12 months’ probation

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                                                                   12 months’ supervised release   $4000 fine
                                                                   $500 restitution                100 hours’ community service
                                                                                                   $500 restitution
Chansley, Jacob   1:21-CR-00003-RCL   18 U.S.C. § 1512(c)(2)       51 months’ incarceration        41 months’ incarceration
                                                                   36 months’ supervised release   36 months’ supervised release
                                                                   $2000 restitution               $2000 restitution
Mish, David       1:21-CR-00112-CJN   40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration          30 days’ incarceration
                                                                   $500 restitution                $500 restitution
Lolos, John       1:21-CR-00243-APM   40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration          14 days’ incarceration
                                                                   $500 restitution                $500 restitution
Scavo, Frank      1:21-CR-00254-RCL   40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration          60 days’ incarceration
                                                                   $500 restitution                $5000 fine
                                                                                                   $500 restitution
Abual-Ragheb,     1:21-CR-00043-CJN   40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration          60 days’ home detention
Rasha                                                              $500 restitution                36 months’ probation
                                                                                                   60 hours’ community service
                                                                                                   $500 restitution
Peterson,         1:21-CR-00309-ABJ   40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration          30 days’ incarceration
Russell                                                            $500 restitution                $500 restitution
Simon, Mark       1:21-CR-00067-ABJ   40 U.S.C. § 5104(e)(2)(G)    45 days’ incarceration          35 days’ incarceration
                                                                   $500 restitution                $500 restitution
Ericson,          1:21-CR-00506-TNM   40 U.S.C. § 5104(e)(2)(G)    60 days’ incarceration          20 days’ incarceration
Andrew                                                             $500 restitution                24 months’ probation
                                                                                                   $500 restitution
Pham, Tam         1:21-CR-00109-TJK   40 U.S.C. § 5104(e)(2)(G)    60 days’ incarceration          45 days’ incarceration
Dinh                                                               $500 restitution                $1000 fine
                                                                                                   $500 restitution
Nelson,           1:21-CR-00344-JDB   40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration          24 months’ probation
Brandon                                                            $500 restitution                $2500 fine
                                                                                                   50 hours’ community service
                                                                                                   $500 restitution
Markofski,        1:21-CR-00344-JDB   40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration          24 months’ probation
Abram                                                              $500 restitution                $1000 fine
                                                                                                   50 hours’ community service
                                                                                                   $500 restitution
Marquez, Felipe   1:21-CR-00136-RC    18 U.S.C. § 1752(a)(2)       4 months’ incarceration         3 months’ home detention

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                                                                    12 months’ supervised release   18 months’ probation
                                                                    $500 restitution                $500 restitution
Meredith,          1:21-CR-00159-ABJ   18 U.S.C. § 875(c)           37-46 months’ incarceration     28 months’ incarceration
Cleveland                                                           36 months’ supervised release   36 months’ supervised release
Sorvisto, Jeremy   1:21-CR-00320-ABJ   40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration          30 days’ incarceration
                                                                    $500 restitution                $500 restitution
Mariotto,          1:21-CR-00094-RBW   40 U.S.C. § 5104(e)(2)(G)    4 months’ incarceration         36 months’ probation
Anthony                                                             36 months’ probation            $5000 fine
                                                                    $500 restitution                250 hours’ community service
                                                                                                    $500 restitution




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Courtright,      1:21-CR-00072-CRC    18 U.S.C. § 1752(a)(1)       6 months’ incarceration         30 days’ incarceration
Gracyn                                                             12 months’ supervised release   12 months’ supervised release
                                                                   60 hours’ community service     60 hours’ community service
                                                                   $500 restitution                $500 restitution
Palmer, Robert   1:21-CR-00328-TSC    18 U.S.C. § 111(a)           63 months’ incarceration        63 months’ incarceration
                                      18 U.S.C. § 111(b)           36 months’ supervised release   36 months’ supervised release
                                                                   $2000 restitution               $2000 restitution
Thompson,        1:21-CR-00461-RCL    18 U.S.C. § 111(a)           48 months’ incarceration        46 months’ incarceration
Devlyn                                18 U.S.C. § 111(b)           36 months’ supervised release   36 months’ supervised release
                                                                   $2000 restitution               $2000 restitution
Edwards, Gary    1:21-CR-00366-JEB    40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration          12 months’ probation
                                                                   24 months’ probation            $2500 fine
                                                                   $500 restitution                200 hours’ of community service
                                                                                                   $500 restitution
Tutrow, Israel   1:21-CR-00310-ABJ    40 U.S.C. § 5104(e)(2)(G)    60 days’ incarceration          60 days’ home detention
                                                                   $500 restitution                36 months’ probation
                                                                                                   $500 restitution
Ridge IV,        1:21-CR-00406-JEB    18 U.S.C. § 1752(a)(1)       45 days’ incarceration          14 days’ incarceration
Leonard                                                            12 months’ supervised release   12 months’ supervised release
                                                                   60 hours’ community service     $1000 fine
                                                                   $500 restitution                100 hours’ community service
                                                                                                   $500 restitution
Perretta,        1:21-CR-00539-TSC    40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration          30 days’ incarceration
Nicholas                                                           $500 restitution                $500 restitution
Vukich,          1:21-CR-00539-TSC    40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration          30 days’ incarceration
Mitchell                                                           $500 restitution                $500 restitution
Spencer,         1:21-CR-00147-CKK    40 U.S.C. § 5104(e)(2)(G)    3 months’ incarceration         3 months’ incarceration
Virginia                                                           36 months’ probation            $500 restitution
                                                                   $500 restitution
Kostolsky,       1:21-CR-00197-DLF    40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration          30 days’ home detention
Jackson                                                            $500 restitution                36 months’ probation
                                                                                                   $500 restitution




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Rusyn, Michael     1:21-CR-00303-ABJ   40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          60 days’ home detention
                                                                     $500 restitution                24 months’ probation
                                                                                                     $2000 fine
                                                                                                     $500 restitution
Tryon, William     1:21-CR-00420-RBW   18 U.S.C. § 1752(a)(1)        30 days’ incarceration          50 days’ incarceration
                                                                     12 months’ supervised release   12 months’ supervised release
                                                                     $500 restitution                $1000 fine
                                                                                                     $500 restitution
Sells, Tanner      1:21-CR-00549-ABJ   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          3 months’ home detention
                                                                     36 months’ probation            24 months’ probation
                                                                     60 hours’ community service     $1500 fine
                                                                     $500 restitution                50 hours’ community service
                                                                                                     $500 restitution
Walden, Jon        1:21-CR-00548-DLF   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          30 days’ home detention
                                                                     60 hours’ community service     36 months’ probation
                                                                     $500 restitution                60 hours’ community service
                                                                                                     $500 restitution
Prado, Nicole      1:21-CR-00403-RC    40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          12 months’ probation
                                                                     36 months’ probation            $742 fine
                                                                     60 hours’ community service     60 hours’ community service
                                                                     $500 restitution                $500 restitution
Williams, Vic      1:21-CR-00388-RC    40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          60 days’ home detention
                                                                     36 months’ probation            12 months’ probation
                                                                     60 hours’ community service     $1500 fine
                                                                     $500 restitution                60 hours’ community service
                                                                                                     $500 restitution
Wiedrich, Jacob    1:21-CR-00581-TFH   40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration         3 months’ home detention
                                                                     36 months’ probation            36 months’ probation
                                                                     $500 restitution                100 hours’ community service
                                                                                                     $500 restitution
Stepakoff,         1:21-CR-00096-RC    40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          60 days’ home detention
Michael                                                              36 months’ probation            12 months’ probation
                                                                     60 hours’ community service     $742 fine
                                                                     $500 restitution                60 hours’ community service
                                                                                                     $500 restitution
Scirica, Anthony   1:21-CR-00457-CRC   40 U.S.C. § 5104(e)(2)(G)     15 days’ incarceration          15 days’ incarceration

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                                                                     $500 restitution                $500 fine
                                                                                                     $500 restitution
Crase, Dalton       1:21-CR-00082-CJN   40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration          15 days’ intermittent confinement
                                                                     36 months’ probation            36 months’ probation
                                                                     60 hours’ community service     60 hours’ community service
                                                                     $500 restitution                $500 restitution
Williams, Troy      1:21-CR-00082-CJN   40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration          15 days’ intermittent confinement
                                                                     36 months’ probation            36 months’ probation
                                                                     60 hours’ community service     60 hours’ community service
                                                                     $500 restitution                $500 restitution
Languerand,         1:21-CR-00353-JDB   18 U.S.C. § 111 (a)          51 months’ incarceration        44 months’ incarceration
Nicholas                                18 U.S.C. § 111 (b)          36 months’ supervised release   24 months’ supervised release
                                                                     $2000 restitution               60 hours’ community service
                                                                                                     $2000 restitution
Wilson, Zachary     1:21-CR-00578-APM   40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration          45 days’ home detention
                                                                     36 months’ probation            24 months’ probation
                                                                     $500 restitution                60 hours’ community service
                                                                                                     $500 restitution
Wilson, Kelsey      1:21-CR-00578-APM   40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration          30 days’ home detention
                                                                     36 months’ probation            24 months’ probation
                                                                     $500 restitution                60 hours’ community service
                                                                                                     $500 restitution
McAuliffe, Justin   1:21-CR-00608-RCL   40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration          60 days’ home detention
                                                                     36 months’ probation            36 months’ probation
                                                                     $500 restitution                $500 restitution
Williams,           1:21-CR-00045-DLF   40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration          24 months’ probation
Andrew                                                               24 months’ probation            60 hours’ community service
                                                                     60 hours’ community service     $500 restitution
                                                                     $500 restitution
Leffingwell,        1:21-CR-00005-ABJ   18 U.S.C. § 111(a)(1)        27 months’ incarceration        6 months’ incarceration
Mark                                                                 36 months’ supervised release   24 months’ supervised release
                                                                     $2000 restitution               200 hours’ community service
                                                                                                     $2,000 restitution
Wagner, Joshua      1:21-CR-00310-ABJ   40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration          30 days’ incarceration
                                                                     36 months’ probation            $500 restitution
                                                                     $500 restitution

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Stenz, Brian        1:21-CR-00456-BAH   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          14 days’ incarceration
                                                                      36 months’ probation            2 months’ home detention
                                                                      60 hours’ community service     36 months’ probation
                                                                      $500 restitution                $2500 fine
                                                                                                      $500 restitution
Schornak, Robert    1:21-CR-00278-BAH   18 U.S.C. § 1752(a)(1)        4-6 months’ incarceration       28 days’ intermittent confinement
                                                                      12 months’ supervised release   2 months’ home detention
                                                                      60 hours’ community service     36 months’ probation
                                                                      $500 restitution                $500 restitution
Castro, Mariposa    1:21-CR-00299-RBW   40 U.S.C. § 5104(e)(2)(G)     60 days’ incarceration          45 days’ incarceration
                                                                      $500 restitution                $5000 fine
Sunstrum, Traci     1:21-CR-00652-CRC   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          30 days’ home detention
                                                                      36 months’ probation            36 months’ probation
                                                                      $500 restitution                $500 restitution
Register, Jeffrey   1:21-CR-00349-TJK   40 U.S.C. § 5104(e)(2)(G)     5 months’ incarceration         75 days’ incarceration
                                                                      $500 restitution                $500 restitution
Johnson, Adam       1:21-CR-00648-RBW   18 U.S.C. § 1752(a)(1)        3 months’ incarceration         75 days’ incarceration
                                                                      12 month’s supervised release   12 months’ supervised release
                                                                      $5000 fine                      $5000 fine
                                                                                                      200 hours’ community service
                                                                                                      $500 restitution
Howell, Annie       1:21-CR-00217-TFH   18 U.S.C. § 1752(a)(1)        60 days’ incarceration          60 days’ intermittent incarceration
                                                                      12 month’s supervised release   36 months’ probation
                                                                      $500 restitution                60 hours’ community service
                                                                                                      $500 restitution
Gonzalez,           1:21-CR-00115-CRC   40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration         24 months’ probation
Eduardo                                                               $500 restitution                $1000 fine
                                                                                                      $500 restitution
Wilson, Duke        1:21-CR-00345-RCL   18 U.S.C. § 1512(c)(2)        46 months’ incarceration        51 months’ incarceration
                                        18 U.S.C. § 111(a)(1)         $2000 + TBD restitution for     36 months’ supervised release
                                                                      injured officer                 TBD restitution
Strong, Kevin       1:21-CR-00114-TJK   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          30 days’ home detention
                                                                      36 months’ probation            24 months’ probation
                                                                      $500 restitution                60 hours’ community service
                                                                                                      $500 restitution
Bonet, James        1:21-CR-00121-EGS   18 U.S.C. § 1752(a)(1)        45 days’ incarceration          3 months’ incarceration

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                                                                     12 months’ probation            12 months’ probation
                                                                     $500 restitution                200 hours’ community service
                                                                                                     $500 restitution
Nalley, Verden     1:21-CR-00016-DLF   18 U.S.C. § 1752(a)(1)        14 days’ incarceration          24 months’ probation
                                                                     12 months’ probation            60 hours’ community service
                                                                     60 hours’ community service     $500 restitution
                                                                     $500 restitution
Carico, Michael    1:21-CR-00696-TJK   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          60 days’ home detention
                                                                     36 months’ probation            24 months’ probation
                                                                     $500 restitution                $500 fine
                                                                                                     60 hours’ community service
                                                                                                     $500 restitution
Little, James      1:21-CR-00315-RCL   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          60 days’ incarceration
                                                                     36 months’ probation            36 months’ probation
                                                                     $500 restitution                $500 restitution
Loftus, Kevin      1:21-CR-00081-DLF   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          36 months’ probation
                                                                     36 months’ probation            60 hours’ community service
                                                                                                     $500 restitution
Smith, Jeffrey     1:21-CR-00290-RBW   40 U.S.C. § 5104(e)(2)(G)     5 months’ incarceration         3 months’ incarceration
                                                                     $500 restitution                24 months’ probation
                                                                                                     200 hours’ community service
                                                                                                     $500 restitution
Kelley, Kari       1:21-CR-00201-DLF   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          36 months’ probation
                                                                     36 months’ probation            $500 restitution
                                                                     $500 restitution
Martin, Zachary    1:21-CR-00201-DLF   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          36 months’ probation
                                                                     36 months’ probation            $1000 fine
                                                                     $500 restitution                60 hours’ community service
                                                                                                     $500 restitution
Cudd, Jenny        1:21-CR-00068-TNM   18 U.S.C. § 1752(a)(1)        75 days’ incarceration          60 days’ probation
                                                                     12 months’ supervised release   $5000 fine
                                                                     $500 restitution                $500 restitution
Jackson, Micajah   1:21-CR-00484-RDM   40 U.S.C. § 5104(e)(2)(G)     60 days’ incarceration          36 months’ probation
                                                                     36 months’ supervised release   $1,000 fine
                                                                     $500 restitution                $500 restitution
Petrosh, Robert    1:21-CR-00347-TNM   18 U.S.C. § 641               4 months’ incarceration         10 days’ incarceration

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                                                                     12 months’ supervised release   12 months’ supervised release
                                                                     60 hours’ community service     $1,000 fine
                                                                     $938 restitution                $938 restitution
Ivey, Bryan        1:21-CR-00267-CRC   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          60 days’ home detention
                                                                     36 months’ probation            36 months’ probation
                                                                     $500 restitution                $500 restitution
                                                                     60 hours’ community service     60 hours’ community service

Burress, Gabriel   1:21-CR-00744-TJK   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          45 days’ home detention
                                                                     36 months’ probation            18 months’ probation
                                                                     $500 restitution                $500 restitution
                                                                     60 hours’ community service     60 hours’ community service

Pettit, Madison    1:21-CR-00744-TJK   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          45 days’ home detention
                                                                     36 months’ probation            18 months’ probation
                                                                     $500 restitution                $500 restitution
                                                                     60 hours’ community service     60 hours’ community service

Coffman, Lonnie    1:21-CR-00004-CKK   26 U.S.C. § 5861(d)           Middle of SGR                   46 months’ incarceration
                                       22 D.C. Code § 4504(a)        36 months’ probation            36 months’ supervised release
Fee, Thomas        1:21-CR-00133-JDB   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          24 months’ probation
                                                                     36 months’ probation            $500 fine
                                                                     $500 restitution                $500 restitution
                                                                     60 hours’ community service     50 hours’ community service
Herendeen,         1:21-CR-00278-BAH   18 U.S.C. § 1752(a)(1)        28 days’ incarceration          14 days’ incarceration
Daniel                                                               36 months’ probation            60 days’ home detention
                                                                     $500 restitution                36 months’ probation
                                                                     60 hours’ community service     $500 restitution
Zlab, Joseph       1:21-CR-00389-RBW   40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          36 months’ probation
                                                                     36 months’ probation            $500 fine
                                                                     $500 restitution                $500 restitution
                                                                     60 hours’ community service     200 hours’ community service
Riddle, Jason      1:21-CR-00304-DLF   18 U.S.C. § 641               3 months’ incarceration         3 months’ incarceration
                                       40 U.S.C. § 5104(e)(2)(G)     12 months’ supervised release   36 months’ probation
                                                                     $754 restitution                $754 restitution
                                                                                                     60 days’ community service

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Fox, Samuel       1:21-CR-00435-BAH    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          60 days’ home detention
                                                                     36 months’ probation            36 months’ probation
                                                                     $500 restitution                $2,500 fine
                                                                                                     $500 restitution
O’Brien, Kelly    1:21-CR-00633-RCL    18 U.S.C. § 1752(a)(1)        5 months’ incarceration         3 months’ incarceration
                                                                     12 months’ supervised release   12 months’ supervised release
                                                                     $500 restitution                $1,000 fine
                                                                                                     $500 restitution
Hardin, Michael   1:21-CR-00280-TJK    40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          30 days’ home detention
                                                                     36 months’ probation            18 months’ probation
                                                                     $500 restitution                $500 restitution
                                                                     60 hours’ community service     60 hours’ community service
Hernandez,        1:21-CR-00747-JEB    18 U.S.C. § 1752(a)(1)        45 days’ incarceration          30 days’ incarceration
Emily                                                                12 months’ supervised release   12 months’ supervised release
                                                                     $500 restitution                $500 restitution
                                                                     60 hours’ community service     80 hours’ community service
Merry, William    1:21-CR-00748-JEB    18 U.S.C. § 641               4 months’ incarceration         45 days’ incarceration
                                                                     12 months’ supervised release   9 months’ supervised release
                                                                     $500 restitution                80 hours’ community service
                                                                     60 hours’ community service
Westover, Paul    1:21-CR-00697-JEB    40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration         45 days’ incarceration
                                                                     $500 restitution                $500 restitution
O’Malley,         1:21-CR-00704-CRC    40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          24 months’ probation
Timothy                                                              36 months’ probation            20 hours’ community service
                                                                     60 hours’ community service     $500 restitution
                                                                     $500 restitution
Reed, Blake       1:21-CR-00204-BAH    18 U.S.C. § 1752(a)(1)        3 months’ incarceration         42 days’ intermittent confinement
                                                                     12 months’ supervised release   3 months’ home detention
                                                                     $500 restitution                36 months’ probation
                                                                                                     $2500 fine
                                                                                                     $500 restitution
Rebegila, Mark    1:21-CR-00283-APM    40 U.S.C. § 5104(e)(2)(G)     60 days’ incarceration          30 days’ home detention
                                                                     36 months’ probation            24 months’ probation
                                                                     $500 restitution                $2000 fine
                                                                                                     60 hours’ community service
                                                                                                     $500 restitution

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Watrous, Richard   1:21-CR-00627-BAH   40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration        14 days’ intermittent confinement
                                                                    36 months’ probation          60 days’ home detention
                                                                    60 hours’ community service   36 months’ probation
                                                                    $500 restitution              $2500 fine
                                                                                                  $500 restitution
Meteer, Clifford   1:21-CR-00630-CJN   40 U.S.C. § 5104(e)(2)(G)    75 days’ incarceration        60 days’ incarceration
                                                                    36 months’ probation          36 months’ probation
                                                                    60 hours’ community service   60 hours’ community service
                                                                    $500 restitution              $500 restitution
Conover,           1:21-CR-00743-FYP   40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration        36 months’ probation
Thomas                                                              36 months’ probation          $2500 fine
                                                                    60 hours’ community service   60 hours’ community service
                                                                    $500 restitution              $500 restitution
Lavin, Jean        1:21-CR-00596-BAH   40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration        10 days’ intermittent confinement
                                                                    36 months’ probation          60 days’ home detention
                                                                    $500 restitution              36 months’ probation
                                                                                                  $2500 fine
                                                                                                  $500 restitution
Krzywicki, Carla   1:21-CR-00596-BAH   40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration        36 months’ probation
                                                                    36 months’ probation          3 months’ home detention
                                                                    $500 restitution              $500 restitution
Kulas, Christian   1:21-CR-00397-TFH   40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration        6 months’ probation
                                                                    36 months’ probation          60 days’ home detention
                                                                    60 hours’ community service   $500 restitution
                                                                    $500 restitution
Kulas, Mark        1:21-CR-00693-TFH   40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration        6 months’ probation
                                                                    36 months’ probation          60 days’ home detention
                                                                    60 hours’ community service   $500 restitution
                                                                    $500 restitution
Von Bernewitz,     1:21-CR-00307-CRC   40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration        60 days’ home detention
Eric                                                                36 months’ probation          24 months’ probation
                                                                    60 hours’ community service   $1000 fine
                                                                    $500 restitution              $500 restitution
Von Bernewitz,     1:21-CR-00307-CRC   40 U.S.C. § 5104(e)(2)(G)    45 days’ incarceration        30 days’ incarceration
Paul                                                                36 months’ probation          $500 restitution
                                                                    60 hours’ community service

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                                                                     $500 restitution
Ballesteros,       1:21-CR-00580-DLF   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          36 months’ probation
Robert                                                               24 months’ probation            40 hours’ community service
                                                                     60 hours’ community service     $500 restitution
                                                                     $500 restitution
Sarko, Oliver      1:21-CR-00591-CKK   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          30 days’ incarceration
                                                                     36 months’ probation            36 months’ probation
                                                                     60 hours’ community service     $500 restitution
                                                                     $500 restitution
Vuksanaj,          1:21-CR-00620-BAH   40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration         42 days’ intermittent confinement
Anthony                                                              36 months’ probation            3 months’ home detention
                                                                     60 hours’ community service     36 months’ probation
                                                                     $500 restitution                $2000 fine
                                                                                                     $500 restitution
Creek, Kevin       1:21-CR-00645-DLF   18 U.S.C. § 111(a)(1)         27 months’ incarceration        27 months’ incarceration
                                                                     36 months’ supervised release   12 months’ supervised release
                                                                     $2000 restitution               $2000 restitution
Peart, Willard     1:21-CR-00662-PLF   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          60 days’ home detention
                                                                     36 months’ probation            36 months’ probation
                                                                     60 hours’ community service     240 hours’ community service
                                                                     $500 restitution                $500 fine
                                                                                                     $500 restitution
Webler, Matthew    1:21-CR-00741-DLF   40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration         45 days’ incarceration
                                                                     $500 restitution                $500 restitution
Mostofsky,         1:21-CR-00138-JEB   18 U.S.C. § 641               15 months’ incarceration        8 months’ incarceration
Aaron                                  18 U.S.C. § 231(a)(3)         36 months’ supervised release   12 months’ supervised release
                                       18 U.S.C. § 1752(a)(1)        $2000 restitution               200 hours’ community service
                                                                                                     $2000 restitution
Entrekin, Nathan   1:21-CR-00686-FYP   40 U.S.C. § 5104(e)(2)(G)     105 days’ incarceration         45 days’ incarceration
                                                                     36 months’ probation            36 months’ probation
                                                                     60 hours’ community service     60 hours’ community service
                                                                     $500 restitution                $500 restitution
Kidd, Nolan        1:21-CR-00429-CRC   40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration         45 days’ incarceration
                                                                     36 months’ probation            $500 restitution
                                                                     60 hours’ community service
                                                                     $500 restitution

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Baker, Stephen    1:21-CR-00273-TFH    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          9 days’ intermittent confinement
                                                                     $500 restitution                24 months’ probation
                                                                                                     $500 restitution
McDonald,         1:21-CR-00429-CRC    40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration         21 days’ incarceration
Savannah                                                             36 months’ probation            $500 restitution
                                                                     60 hours’ community service
                                                                     $500 restitution
Honeycutt, Adam 1:22-CR-00050-CJN      40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration         3 months’ incarceration
                                                                     36 months’ probation            $500 restitution
                                                                     60 hours’ community service
                                                                     $500 restitution
Spain, Jr.,       1:21-CR-00651-DLF    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          36 months’ probation
Edward                                                               36 months’ probation            60 hours’ community service
                                                                     60 hours’ community service     $500 restitution
                                                                     $500 restitution
Kramer, Philip    1:21-CR-00413-EGS    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          30 days’ incarceration
                                                                     36 months’ probation            $2500 fine
                                                                     60 hours’ community service     100 hours’ community service
                                                                     $500 restitution                $500 restitution
Ehmke, Hunter     1:21-CR-00029-TSC    18 U.S.C. § 1361              4 months’ incarceration         4 months’ incarceration
                                                                     36 months’ supervised release   36 months’ supervised release
                                                                     $2,181 restitution              $2,181 restitution
Chapman, Robert   1:21-CR-00676-RC     40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          3 months’ home detention
                                                                     36 months’ probation            18 months’ probation
                                                                                                     $742 fine
                                                                                                     60 hours’ community service
                                                                                                     $500 restitution
Timbrook,         1:21-CR-00361-TNM    40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration         14 days’ incarceration
Michael                                                              36 months’ probation            12 months’ probation
                                                                                                     $500 restitution
Miller, Matthew   1:21-CR-00075-RDM    18 U.S.C. § 1512(c)(2)        51 months’ incarceration        33 months’ incarceration
                                       18 U.S.C. § 111(a)(1)         36 months’ supervised release   24 months’ probation
                                                                                                     $2000 restitution
                                                                                                     100 hours’ community service
Hemphill,         1:21-CR-00555-RCL    40 U.S.C. § 5104(e)(2)(G)     60 days’ incarceration          60 days’ incarceration
Pamela                                                               36 months’ probation            36 months’ probation

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                                                                                                    $500 restitution
Rubenacker,       1:21-CR-00193-BAH    18 U.S.C. § 231(a)(3)        46 months’ incarceration        41 months’ incarceration
Greg                                   18 U.S.C. § 1512(c)(2)       36 months’ supervised release   36 months’ supervised release
                                       18 U.S.C. § 111(a)                                           $2000 restitution
                                       18 U.S.C. § 1752(a)(1)
                                       18 U.S.C. § 1752(a)(2)
                                       18 U.S.C. § 1752(a)(4)
                                       40 U.S.C. § 5104(e)(2)(D)
                                       40 U.S.C. § 5104(e)(2)(E)
                                       40 U.S.C. § 5104(e)(2)(F)
                                       40 U.S.C. § 5104(e)(2)(G)
Johnson, Daniel   1:21-CR-00407-DLF    18 U.S.C. § 231(a)(3)        6 months’ incarceration         4 months’ incarceration
                                                                    12 months’ supervised release   12 months’ supervised release
                                                                                                    $2000 restitution
Johnson, Daryl    1:21-CR-00407-DLF    18 U.S.C. § 231(a)(3)        3 months’ incarceration         30 days’ incarceration
                                                                    12 months’ supervised release   12 months’ supervised release
                                                                                                    $2000 fine
                                                                                                    $2000 restitution
Buhler, Janet     1:21-CR-00510-CKK    40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration          30 days’ incarceration
                                                                    36 months’ supervised release   36 months’ supervised release
                                                                                                    $500 restitution
Tagaris, Jody     1:21-CR-00368-JDB    40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration          24 months’ probation
                                                                    36 months’ probation            $2000 fine
                                                                    $500 restitution                $500 restitution
                                                                                                    60 hours’ community service
Heinl, Jennifer   1:21-CR-00370-EGS    40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration          14 days’ incarceration
                                                                    36 months’ probation            24 months’ probation
                                                                    $500 restitution                $500 restitution
Sywak, William    1:21-CR-00494-RC     40 U.S.C. § 5104(e)(2)(G)    45 days’ incarceration          60 days’ home detention
Jason                                                               36 months’ probation            12 months’ probation
                                                                    60 hours’ community service     60 hours’ community service
                                                                    $500 restitution                $500 restitution
Sywak, William    1:21-CR-00494-RC     40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration          4 months’ home detention
Michael                                                             36 months’ probation            24 months’ probation
                                                                    $500 restitution                60 hours’ community service
                                                                                                    $500 restitution

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Laurens,           1:21-CR-00450-RC    40 U.S.C. § 5104(e)(2)(G)      30 days’ incarceration          60 days’ home detention
Jonathan                                                              36 months’ probation            12 months’ probation
                                                                      $500 restitution                $742 fine
                                                                                                      $500 restitution
                                                                                                      60 hours’ community service
Cooke, Nolan       1:22-CR-00052-RCL   18 U.S.C. § 231(a)(3)          11 months’ incarceration        366 days’ incarceration
                                                                      36 months’ supervised release   36 months’ supervised release
                                                                      $2000 restitution               $2000 restitution
Barber, Eric       1:21-cr-00228-CRC   40 U.S.C. § 5104(e)(2)(G)      4 months’ incarceration         45 days’ incarceration
                                       22 D.C. Code 3212              36 months’ probation            24 months’ probation
                                                                      $552.95 restitution             $552.95 restitution
Gold, Simone       1:21-CR-00085-CRC   18 U.S.C. § 1752(a)(1)         3 months’ incarceration         60 days’ incarceration
                                                                      12 months’ supervised release   12 months’ supervised release
                                                                      $500 restitution                $9,500 fine
                                                                      60 hours’ community service     $500 restitution
Griffin, Cuoy      1:21-CR-00092-TNM   18 U.S.C. § 1752(a)(1)         60 days’ incarceration          14 days’ incarceration
                                                                      12 months’ supervised release   12 months’ supervised release
Stackhouse,        1:21-CR-00240-BAH   40 U.S.C. § 5104(e)(2)(G)      45 days’ incarceration          14 days’ incarceration
Lawrence                                                              36 months’ probation            36 months’ probation
                                                                      $500 restitution                $500 restitution
Baranyi,           1:21-CR-00062-JEB   18 U.S.C. § 1752 (a)(1)        4 months’ incarceration         30 days’ incarceration
Lawrence                                                              12 months’ supervised release   12 months’ supervised release
                                                                      $500 restitution                $500 restitution
Evans, Derrick     1:21-CR-00337-RCL   18 U.S.C. § 231(a)(3)          3 months’ incarceration         3 months’ incarceration
                                                                      36 months’ supervised release   36 months’ supervised release
                                                                      $2000 restitution               $2000 restitution
                                                                                                      $2000 fine
Lucard, Carson     1:22-CR-00087-BAH   40 U.S.C. § 5104(e)(2)(G)      3 months’ incarceration         21 days’ intermittent confinement
                                                                      36 months’ probation            36 months’ probation
                                                                      $500 restitution                60 days’ home detention
                                                                                                      $500 restitution
Cunningham,        1:21-CR-00603-RC    40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration          3 months’ home detention
Christopher                                                           36 months’ probation            12 months’ probation
                                                                      $500 restitution                $1,113 fine
                                                                                                      $500 restitution
Prezlin, Brandon   1:21-CR-00694-TNM   40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration          10 months’ probation

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                                                                       36 months’ probation            $2,500 fine
                                                                       $500 restitution                120 hours’ community service
                                                                                                       $500 restitution
Weisbecker,         1:21-CR-00682-TFH   40 U.S.C. § 5104(e)(2)(G)      60 days’ incarceration          30 days’ intermittent confinement
Philip                                                                 36 months’ probation            24 months’ probation
                                                                       $500 restitution                $2,000 fine
                                                                                                       $500 restitution
Sidorski, Dennis    1:21-CR-00048-ABJ   18 U.S.C. § 1752 (a)(2)        12 months’ incarceration        100 days’ incarceration
                                                                       12 months’ supervised release   12 months’ supervised release
                                                                       $500 restitution                50 hours’ community service
                                                                                                       $500 restitution
Bromley, Phillip    1:21-CR-00250-PLF   18 U.S.C. § 1752(a)(2)         12 months’ incarceration        3 months’ incarceration
                                                                       12 months’ supervised release   12 months’ supervised release
                                                                       $500 restitution                $4,000 fine
                                                                                                       $2,000 restitution
Revlett, Jordan     1:21-CR-00281-JEB   40 U.S.C. § 5104(e)(2)(G)      30 days’ incarceration          14 days’ incarceration
                                                                       36 months’ probation            12 months’ probation
                                                                       $500 restitution                80 hours’ community service
                                                                                                       $500 restitution
Snow, Robert        1:22-CR-00030-TJK   40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration          12 months’ probation
                                                                       36 months’ probation            60 hours’ community service
                                                                       $500 restitution                $500 restitution
Torre, Benjamin     1:21-CR-00143-RC    40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration          12 months’ probation
                                                                       36 months’ probation            $1,113 fine
                                                                       $500 restitution                60 hours’ community service
                                                                                                       $500 restitution
Grace, Jeremey      1:21-CR-00492-JDM   18 U.S.C. § 1752 (a)(1)        60 days’ incarceration          21 days’ incarceration
                                                                       12 months’ supervised release   12 months’ supervised release
                                                                       60 hours’ community service     60 hours’ community service
                                                                       $500 restitution                $500 restitution
Getsinger, John     1:21-CR-00607-EGS   40 U.S.C. § 5104(e)(2)(G)      45 days’ incarceration          60 days’ incarceration
                                                                       36 months’ probation            36 months’ probation
                                                                       $500 restitution                100 hours’ community service
                                                                                                       $500 restitution
Getsinger, Stacie   1:21-CR-00607-EGS   40 U.S.C. § 5104(e)(2)(G)      45 days’ incarceration          60 days’ incarceration
                                                                       36 months’ probation            36 months’ probation

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                                                                        $500 restitution                100 hours’ community service
                                                                                                        $500 restitution
Suarez, Marissa     1:21-CR-00205-DLF   40 U.S.C. § 5104(e)(2)(G)       14 days’ incarceration          36 months’ probation
                                                                        36 months’ probation            60 hours’ community service
                                                                        $500 restitution                $2000 fine
                                                                                                        $500 restitution
Todisco, Patricia   1:21-CR-00205-DLF   40 U.S.C. § 5104(e)(2)(G)       14 days’ incarceration          36 months’ probation
                                                                        36 months’ probation            60 hours’ community service
                                                                        $500 restitution                $2000 fine
                                                                                                        $500 restitution
Blair, David        1:21-CR-00186-CRC   18 U.S.C. § 231(a)(3)           8 months’ incarceration         5 months’ incarceration
                                                                        36 months’ supervised release   18 months’ supervised release
                                                                        $2000 restitution               $2,000 restitution
Griswold,           1:21-CR-00459-CRC   18 U.S.C. § 231(a)(3)           5 months’ incarceration         75 days’ incarceration
Andrew                                                                  36 months’ supervised release   24 months’ supervised release
                                                                        $2,000 restitution              $2,000 restitution
Blakely, Kevin      1:21-CR-00356-EGS   40 U.S.C. § 5104(e)(2)(G)       4 months’ incarceration         4 months’ incarceration
                                                                        36 months’ probation            18 months’ probation
                                                                        $500 restitution                100 hours’ supervised release
                                                                                                        $500 restitution
Persick, Kerry      1:21-CR-00485-BAH   40 U.S.C. § 5104(e)(2)(G)       14 days’ incarceration          36 months’ probation
                                                                        36 months’ probation            90 days’ supervised release
                                                                        $500 restitution                $5,000 fine
                                                                                                        $500 restitution
Ticas, David        1:21-CR-00601-JDB   40 U.S.C. § 5104(e)(2)(G        3 months’ incarceration         14 days’ incarceration
                                                                        36 months’ probation            24 months’ probation
                                                                        60 hours’ community service     60 hours’ community service
                                                                        $500 restitution                $500 restitution
Lindsey, Terry      1:21-CR-00162-BAH   18 U.S.C. § 1752(a)(1)          12 months’ incarceration        5 months’ incarceration
                                        40 U.S.C. § 5104(e)(2)(D)       12 months’ supervised release   36 months’ probation
                                        40 U.S.C. § 5104(e)(2)(G)       60 hours’ community service     $500 restitution
                                                                        $500 restitution
Mattice, Cody       1:21-CR-00657-BAH   18 U.S.C. § 111(a)(1)           44 months’ incarceration        44 months’ incarceration
                                                                        36 months’ supervised release   36 months’ supervised release
                                                                        $2,000 restitution              $2,000 restitution
Mault, James        1:21-CR-00657-BAH   18 U.S.C. § 111(a)(1)           44 months’ incarceration        44 months’ incarceration

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                                                                     36 months’ supervised release   36 months’ supervised release
                                                                     $2,000 restitution              $2,000 restitution
Bancroft, Dawn   1:21-CR-00271-ESG     40 U.S.C. § 5104(e)(2)(G)     60 days’ incarceration          60 days’ incarceration
                                                                     36 months’ probation            36 months’ probation
                                                                     60 hours’ community service     $500 restitution
                                                                     $500 restitution
Santos-Smith,    1:21-CR-00271-ESG     40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          20 days’ incarceration
Diana                                                                36 months’ probation            36 months’ probation
                                                                     60 hours’ community service     $500 restitution
                                                                     $500 restitution
Buckler,         1:22-CR-00162-TNM     40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          14 days’ home detention
Matthew                                                              36 months’ probation            24 months’ probation
                                                                     60 hours’ community service     60 hours’ community service
                                                                     $500 restitution                $500 restitution
Romero, Moises   1:21-CR-00677-TSC     18 U.S.C. § 231(a)(3)         11 months’ incarceration        12 months’ and 1 days’
                                                                     36 months’ supervised release   incarceration
                                                                     $2000 restitution               12 months’ supervised release
                                                                                                     $2,000 restitution
Ponder, Mark     1:21-CR-00259-TSC     18 U.S.C. § 111(a)(1) and     60 months’ incarceration        63 months’ incarceration
                                       (b)                           36 months’ supervised release   36 months’ supervised release
                                                                     $2000 restitution               $2000 restitution
                                                                                                     Mental health treatment
Bishai, Elliot   1:21-CR-00282-TSC     18 U.S.C. § 1752(a)(1)        30 days’ incarceration          14 days’ incarceration
                                                                     12 months’ supervised release   12 months’ supervised release
                                                                     60 hours’ community service     60 hours’ community service
                                                                     $500 restitution                $500 restitution
Reffitt, Guy     1:21-CR-00032-DLF     18 U.S.C. § 231(a)(2)         180 months’ incarceration       87 months’ incarceration
                                       18 U.S.C. § 1512(c)(2)        3 years supervised release      3 years supervised release
                                       18 U.S.C. § 1752(a)(1)        $2000 restitution               $2000 restitution
                                       18 U.S.C. § 231(a)(3)
                                       18 U.S.C. § 1512(a)(2)(C)
Caplinger,       1:21-CR-00342-PLF     40 U.S.C. § 5104(d)           3 months’ incarceration         35 days’ incarceration
Jeremiah                                                             36 months’ probation            24 months’ probation
                                                                     $500 restitution                60 hours’ community service
                                                                                                     $500 restitution
Cavanaugh,       1:21-CR-00362-APM     40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          24 months’ probation

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Andrew                                                               36 months’ probation            60 hours’ community service
                                                                     60 hours’ community service     $500 restitution
                                                                     $500 restitution
Baggott,          1:21-CR-00411-APM    18 U.S.C. § 1752(a)(2)        middle of sentencing            3 months’ incarceration
Matthew                                                              guidelines range                12 months’ supervised release
                                                                     12 months’ supervised release   60 hours’ community service
                                                                     60 hours’ community service     $500 restitution
                                                                     $500 restitution
Willden, Ricky    1:21-CR-00423-RC     18 U.S.C. § 111(a)(1)         30 months’ incarceration        24 months’ incarceration
                                                                     36 months’ supervised release   36 months’ release
                                                                     $2000 restitution               $2000 restitution
Hyland, Jason     1:21-CR-00050-CRC    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          7 days’ incarceration
                                                                     36 months’ probation            $500 restitution
                                                                     $500 restitution                $4,000 fine
Ortiz,            1:22-CR-00082-JMC    40 U.S.C. § 5104(e)(2)(G)     5 months’ incarceration         12 months’ probation
Christopher                                                          36 months’ probation            60 days’ home detention
                                                                     $500 restitution                100 hours’ community service
                                                                                                     $500 restitution
Homer, Lisa       1:22-CR-00238-TNM    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          36 months’ probation
                                                                     36 months’ probation            $5,000 fine
                                                                     60 hours’ community service     60 hours’ community service
                                                                     $500 restitution                $500 restitution
Betancur, Bryan   1:21-CR-00051-TJK    18 U.S.C. § 1752(a)(1)        6 months’ incarceration         4 months’ incarceration
                                                                     12 months’ supervised release   12 months’ supervised release
                                                                     $500 restitution                $500 restitution
Larocca,          1:21-CR-00317-TSC    18 U.S.C. § 1752(a)(2)        3 months’ incarceration         60 days’ incarceration
Benjamin                                                             12 months’ supervised release   12 months’ supervised release
                                                                     $500 restitution                $5,000 fine
                                                                                                     60 hours’ community service
                                                                                                     $500 restitution
Robertson,        1:21-CR-00034-CRC    18 U.S.C. § 1512(c)(2)        96 months’ incarceration        87 months’ incarceration
Thomas                                 18 U.S.C. § 231(a)(3)         3 years’ supervised release     36 months’ supervised release
                                       18 U.S.C. § 1752(a)(1)        $2,000 restitution              $2,000 restitution
                                       18 U.S.C. § 1752(b)(1)(A)     $100 special assessment for
                                       18 U.S.C. § 1752(a)(2) and    each count of conviction
                                       (b)(1)(A)

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                                       40 U.S.C. § 5104(e)(2)(D)
Simon, Glen       1:21-CR-00346-BAH    18 U.S.C. § 1752(a)(2)        10 months’ incarceration        8 months’ incarceration
Mitchell                                                             12 months’ supervised release   12 months’ supervised release
                                                                     60 hours’ community service     $1,000 fine
                                                                     $500 restitution                $500 restitution
Cameron, John     1:22-CR-00017-TFH    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          30 days’ incarceration
                                                                     36 months’ probation            36 months’ probation
                                                                     60 hours’ community service     $1,000 fine
                                                                     $500 restitution                $500 restitution
Fracker, Jacob    1:21-CR-00034-CRC    18 U.S.C. § 371               6 months’ probation             12 months’ probation
                                                                     3 years’ supervised release     59 days’ home detention
                                                                     $100 special assessment         120 hours’ community service
                                                                     $2,000 restitution              $2,000 restitution

Morrissey,        1:21-CR-00660-RBW    40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          45 days’ incarceration
Daniel                                                               36 months’ probation            36 months’ probation
                                                                     90 days’ home detention         $2,500 fine
                                                                     60 hours’ community service     $500 restitution
                                                                     $500 restitution
Lazo, Kene        1:21-CR-00425-CRC    40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration         45 days’ incarceration
                                                                     36 months’ probation            $500 restitution
                                                                     60 hours’ community service
                                                                     $500 restitution
Knutson, Billy    1:22-CR-00031-FYP    18 U.S.C. § 1752(a)(1)        6 months’ incarceration         6 months’ incarceration
                                                                     12 months’ supervised release   12 months’ supervised release
                                                                     60 hours’ community service     $500 restitution
                                                                     $500 restitution
Carlton, Daniel   1:21-CR-00247-TFH    40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration         36 months’ supervised release
Jonathan                                                             36 months’ probation            $500 restitution
                                                                     60 hours’ community service
                                                                     $500 restitution
Richardson,       1:21-CR-00721-CKK    18 U.S.C. § 111(a)(1)         46 months’ incarceration        46 months’ incarceration
Howard                                                               3 years supervised release      36 months’ probation
                                                                     $2,000 restitution              $2,000 restitution
Pruitt, Joshua    1:21-CR-00023-JK     18 U.S.C. § 1512(c)(2)        60 months’ incarceration        55 months’ incarceration
                                                                     36 months’ supervised release   36 months’ supervised release

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                                                                            $2,000 restitution              $2,000 restitution
Thurlow, Steven     1:21-CR-00615-DLF     40 U.S.C. § 5104(e)(2)(G)         30 days’ incarceration          24 months’ probation
                                                                            36 months’ probation            80 hours’ community service
                                                                            60 hours’ community service     $500 restitution
                                                                            $500 restitution
Cortez, Christian   1:21-CR-00317-TSC     18 U.S.C. § 231(a)(3)             4 months’ incarceration         4 months’ incarceration
Glen                                                                        36 months’ supervised release   36 months’ supervised release
                                                                            $2,000 restitution              60 hours’ community service
                                                                                                            $2,000 restitution
Webster, Thomas     1:21-CR-00208-APM     18 U.S.C. § 111(a)(1), (b)        210 months’ incarceration       120 months’ incarceration
                                          18 U.S.C. § 231(a)(3)             36 months’ supervised release   36 months’ supervised release
                                          18 U.S.C. § 1752(a)(1),           $2,060 restitution              $2,060 restitution
                                          (b)(1)(A)
                                          18 U.S.C. § 1752(a)(2),
                                          (b)(1)(A)
                                          18 U.S.C. § 1752(a)(4),
                                          (b)(1)(A)
                                          40 U.S.C. § 5104(e)(2)(f)
Michetti, Richard   1:21-cr-00232-CRC     18 U.S.C. § 1512(c)(2)            18 months’ incarceration        9 months’ incarceration
                                                                            36 months’ supervised release   24 months’ supervised release
                                                                            $2,000 restitution              $2,000 restitution
Watson, Sean        1:21-CR-00422-APM     40 U.S.C. § 5104(e)(2)(G)         14 days’ incarceration          7 days’ incarceration
                                                                            36 months’ probations           24 months’ probation
                                                                            60 hours’ community service     60 hours’ community service
                                                                            $500 restitution                $500 restitution
McNicoll, Lois      1:21-CR-00468-DLF     40 U.S.C. § 5104(e)(2)(G)         14 days’ incarceration          24 months’ probation
Lynn                                                                        36 months’ probation            80 hours’ community service
                                                                            60 hours’ community service     $500 restitution
                                                                            $500 restitution
Schwartzberg,       1:21-CR-00338 – TFH   40 U.S.C. § 5104(e)(2)(G)         120 days’ incarceration         45 days’ incarceration
Dovid                                                                       36 months’ probations           $500 restitution
                                                                            60 hours’ community service
                                                                            $500 restitution
Youngers,           1:21-CR-00640 – TFH   40 U.S.C. § 5104(e)(2)(G)         30 days’ incarceration          36 months’ probation
Darrell                                                                     36 months’ probation            $1,000 fine
                                                                            60 hours’ community service     $500 restitution

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                                                                     $500 restitution
Vollan, Cody        1:22-CR-00044-APM   40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration        12 months’ probation
                                                                     36 months’ probation          60 hours’ community service
                                                                     60 hours’ community service   $500 restitution
                                                                     $500 restitution
Carollo, Anthoy     1:22-CR-00044-APM   40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration        12 months’ probation
                                                                     36 months’ probation          60 hours’ community service
                                                                     60 hours’ community service   $500 restitution
                                                                     $500 restitution
Carollo, Jeremiah 1:22-CR-00044-APM     40 U.S.C. § 5104(e)(2)(G)    45 days’ incarceration        21 days’ incarceration
                                                                     36 months’ probation          12 months’ probation
                                                                     60 hours’ community service   60 hours’ community service
                                                                     $500 restitution              $500 restitution
Bratjan, Frank      1:22-CR-00285-TNM   40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration        6 months’ probation
                                                                     36 months’ probation          $1500 fine
                                                                     60 days’ community service    $500 restitution
                                                                     $500 restitution
Ferreira, Leticia   1:22-CR-00210-THC   40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration        3 months’ home detention
                                                                     36 months’ probation          12 months’ probation
                                                                     60 hours’ community service   $371 fine
                                                                     $500 restitution              60 hours’ community service
                                                                                                   $500 restitution
Connor, Francis     1:21-CR-00586-RC    40 U.S.C. § 5104(e)(2)(G)    45 days’ incarceration        12 months’ probation
                                                                     36 months’ probation          $371 fine
                                                                     $500 probation                60 hours’ community service
                                                                                                   $500 probation
Ferrigno,           1:21-CR-00586-RC    40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration        12 months’ probation
Antonio                                                              36 months’ probation          $371 fine
                                                                     $500 restitution
Lunyk, Anton        1:21-CR-00586-RC    40 U.S.C. § 5104(e)(2)(G)    20 days’ incarceration        12 months’ probation
                                                                     36 months’ probation          $742 fine
                                                                     $500 restitution              60 hours’ community service
                                                                                                   $500 restitution
Packer, Robert      1:21-CR-00103-CJN   40 U.S.C. § 5104(e)(2)(G)    75 days’ incarceration        75 days’ incarceration
                                                                     36 months’ probation          $500 restitution
                                                                     $500 restitution

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Williams,         1:21-CR-00377-BAH    18 U.S.C. § 1512(c)(2)        64 month’s incarceration        60 month’s incarceration
Anthony                                40 U.S.C. § 5104(e)(2)(D)     36 months’ supervised release   36 months’ supervised release
                                       40 U.S.C. § 5104(e)(2)(G)     $2000 restitution               $5000 fine
                                       18 U.S.C. § 1752(a)(1) and                                    $2000 restitution
                                       (2)
Vincent, Reva     1:22-CR-0005-TNM     40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          24 months’ probation
                                                                     36 months’ probation            60 hours’ community service
                                                                     60 hours’ community service     $1,500 fine
                                                                     $500 restitution                $500 restitution
Lyon, Robert      1:21-CR-00161-RBW    18 U.S.C. § 1752(a)(2)        3 months’ incarceration         40 days’ incarceration
                                       18 U.S.C. § 641               12 months’ supervised release   12 months’ supervised release
                                                                     $2,000 restitution              $1,000 fine
                                                                                                     $2,000 restitution
Ayres, Stephen    1:21-CR-00156-JDB    18 U.S.C. § 1752(a)(2)        60 days’ incarceration          24 months’ probation
                                                                     12 months’ supervised release   100 hours’ community service
                                                                     60 hours’ community service     $500 restitution
                                                                     $500 restitution
Hale-Cusanelli,   1:21-CR-00037-TNM    18 U.S.C. § 1512(c)(2)        78 months’ incarceration        48 months’ incarceration
Tim                                    18 U.S.C. § 1752(a)(1)        36 months’ supervised release   36 months’ supervised release
                                       18 U.S.C. § 1752(a)(2)        $2,000 restitution              $2,000 restitution
                                       40 U.S.C. § 5104(e)(2)(D)
                                       40 U.S.C. § 5104(e)(2)(G)
Hamner, Thomas    1:21-CR-00689-ABJ    18 U.S.C. § 231(a)(3)         60 months’ incarceration        30 months’ incarceration
                                                                     36 months’ supervised release   36 months’ supervised release
                                                                     $2,000 restitution              200 hours’ community service
                                                                                                     $2,000 restitution
Santillan, Blas   1:22-CR-00032-FYP    40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          45 days’ incarceration
                                                                     36 months’ probation            36 months’ probation
                                                                     60 hours’ community service     60 hours’ community service
                                                                     $500 restitution                $500 restitution
Neefe, Marshall   1:21-CR-00567-RCL    18 U.S.C. § 1512(k)           46 months’ incarceration        41 months’ incarceration
                                       18 U.S.C. § 111(a)(1)         36 months’ supervised release   36 months’ supervised release
                                                                     $2,000 restitution              $2,000 restitution
Smith, Charles    1:21-CR-00567-RCL    18 U.S.C. § 1512(k)           44 months’ incarceration        41 months’ incarceration
Bradford                               18 U.S.C. § 111(a)(1) and     36 months’ supervised release   36 months’ supervised release
                                       (2)                           $2,000 restitution              $2,000 restitution

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Brannan, Cory       1:21-CR-00637-TSC   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration           30 days’ incarceration
                                                                      36 months’ probation             24 months’ supervised release
                                                                      60 hours’ community service      $500 restitution
                                                                      $500 restitution
Warmus, Daniel      1:21-CR-00417-PLF   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration           45 days’ incarceration
                                                                      36 months’ probation             24 months’ probation
                                                                      60 hours’ community service      60 hours’ community service
                                                                      $500 restitution                 $500 restitution
Young, Kyle         1:21-CR-00291-ABJ   18 U.S.C. § 111(a)(1)         86 months’ incarceration         86 months’ incarceration
                                                                      36 months’ supervised release    36 months’ supervised release
                                                                      $2,000 restitution               100 hours’ community service
                                                                                                       $2,000 restitution
Denney, Lucas       1:22-CR-00070-RDM   18 U.S.C. § 111(b)            A term of incarceration in the   52 months’ incarceration
                                                                      middle of the guideline range    36 months’ supervised release
                                                                      36 months’ supervised release
Rader, Kenneth      1:22-CR-00057-RCL   40 U.S.C. § 5104(e)(2)(G)     60 days’ incarceration           3 months’ incarceration
                                                                      36 months’ probation             36 months’ probation
                                                                      60 hours’ community service      $500 restitution
                                                                      $500 restitution
Hentschel, Cara     1:21-CR-00667-FYP   40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration          36 months’ probation
                                                                      36 months’ probation             $500 restitution
                                                                      60 hours’ community service
                                                                      $500 restitution
Pryer, Mahailya     1:21-CR-00667-FYP   40 U.S.C. § 5104(e)(2)(G)     60 days’ incarceration           45 days’ incarceration
                                                                      36 months’ probation             36 months’ probation
                                                                      60 hours’ community service      $500 restitution
                                                                      $500 restitution
Mazzio, Anthony     1:22-CR-00214-RCL   40 U.S.C. § 5104(e)(2)(G)     60 days’ incarceration           60 days’ incarceration
                                                                      36 months’ probation             36 months’ probation
                                                                      60 hours’ community service      $500 restitution
                                                                      $500 restitution
Ferreira, Leticia   1:22-CR-00210-TSC   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration           14 days’ incarceration
                                                                      36 months’ probation             36 months’ probation
                                                                      60 hours’ community service      60 hours’ community service
                                                                      $500 restitution                 $500 restitution
Dropkin,            1:21-CR-00734-JEB   18 U.S.C. § 1752(a)(1)        30 days’ incarceration           30 days’ incarceration

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Lawrence                               18 U.S.C. § 1752(a)(2)        36 months’ probation            12 months’ supervised release
                                       40 U.S.C. § 5104(e)(2)(D)     60 hours’ community service     $500 restitution
                                       40 U.S.C. § 5104(e)(2)(G)     $500 restitution
Fisher, Samuel   1:21-CR-00142-CJN     18 U.S.C. § 1752(a)(1)        4 months’ incarceration         4 months’ incarceration
                                                                     12 months’ supervised release   12 months’ supervised release
                                                                     60 hours’ community service     60 hours’ community service
                                                                     $500 restitution                $500 restitution
Galloway,        1:22-CR-00012-CRC     40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          30 days’ incarceration
Andrew                                                               36 months’ probation            $1,000 fine
                                                                     $500 restitution                $500 restitution
Munn, Dawn       1:21-CR-00474-BAH     40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          36 months’ probation
                                                                     36 months’ probation            3 months’ home detention
                                                                     60 hours’ community service     14 days’ intermittent confinement
                                                                     $500 restitution                60 hours’ community service
                                                                                                     $500 restitution
Munn, Joshua     1:21-CR-00474-BAH     40 U.S.C. § 5104(e)(2)(G)     21 days’ incarceration          36 months’ probation
                                                                     36 months’ probation            60 hours’ community service
                                                                     60 hours’ community service     $500 restitution
                                                                     $500 restitution
Munn, Kayli      1:21-CR-00474 - BAH   40 U.S.C. § 5104(e)(2)(G)     21 days’ incarceration          36 months’ probation
                                                                     36 months’ probation            60 hours’ community service
                                                                     60 hours’ community service     $500 restitution
                                                                     $500 restitution
Munn, Kristi     1:21-CR-00474-BAH     40 U.S.C. § 5104(e)(2)(G)     21 days’ incarceration          3 months’ home detention
                                                                     36 months’ probation            36 months’ probation
                                                                     60 hours’ community service     60 hours’ community service
                                                                     $500 restitution                $500 restitution
Munn, Thomas     1:21-CR-00474-BAH     40 U.S.C. § 5104(e)(2)(G)     36 days’ incarceration          36 months’ probation
                                                                     36 months’ probation            3 months’ home detention
                                                                     60 hours’ community service     14 days’ intermittent confinement
                                                                     $500 restitution                60 hours’ community service
                                                                                                     $500 restitution
Suleski, Ryan    1:21-CR-00376-RDM     18 U.S.C. § 1752(a)(1)        3 months’ incarceration         60 days’ incarceration
                                       18: U.S.C § 641               12 months’ supervised release   60 hours’ community service
                                                                     60 hours’ community service     $500 restitution
                                                                     $500 restitution

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Valadez, Rafael    1:21-CR-00695-JEB   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          30 days’ incarceration
                                                                     36 months’ probation            $500 restitution
                                                                     60 hours’ community service
                                                                     $500 restitution
Ryals, Jerry       1:21-CR-00244-CKK   18 U.S.C. § 231(a)(3)         6 months’ incarceration         9 months’ incarceration
                                                                     36 months’ supervised release   36 months’ supervised release
                                                                     $2,000 restitution              $2,000 restitution
Secor, Christian   1:21-CR-00157-TNM   18 U.S.C. § 1512(c)(2)        57 months’ incarceration        42 months’ incarceration
                                                                     36 months’ supervised release   36 months’ supervised release
                                                                     $2,000 restitution              $2,000 restitution
Fairchild, Jr.,    1:21-CR-00551-TFH   18 U.S.C. § 231(a)(3)         11 months’ incarceration        6 months’ incarceration
Robert                                                               36 months’ supervised release   $2,000 restitution
                                                                     $2,000 restitution
Munger, Jeffrey    1:22-CR-00123-RDM   40 U.S.C. § 5104(e)(2)(G)     36 months’ probation            30 months’ probation
                                                                     4 months’ home detention        60 hours’ community service
                                                                     60 hours’ community service     $500 restitution
                                                                     $500 restitution
Byerly, Alan       1:21-CR-00527-RDM   18 U.S.C. § 111(a)(1)         46 months’ incarceration        34 months’ incarceration
                                       18 U.S.C. § 113(a)(4)         36 months’ supervised release   36 months’ supervised release
                                                                     $2,000 restitution              $2,000 restitution
Bledsoe,           1:21-CR-00204-BAH   18 U.S.C. § 1512(c)(2)        70 months’ incarceration        48 months’ incarceration
Matthew                                18 U.S.C. § 1752(a)(1)        36 months’ supervised release   36 months’ supervised release
                                       18 U.S.C. § 1752(a)(2)        $2,000 restitution              $2,000 fine
                                       40 U.S.C. § 5104(e)(2)(D)                                     $2,000 restitution
                                       40 U.S.C. § 5104(e)(2)(G)
Mazza, Andrew      1:21-CR-00736-JEB   18 U.S.C. § 111(a)(1) and     78 months’ incarceration        60 months’ incarceration
Mark                                   (b)                           36 months’ supervised release   36 months’ supervised release
                                       22 D.C. Code § 4504           $2,150 restitution              $2,000 restitution
Seefried, Hunter   1:21-CR-00287-TNM   18 U.S.C. § 1512(c)(2)        64 months’ incarceration        24 months’ incarceration
                                       18 U.S.C. § 1752(a)(1)        36 months’ supervised release   12 months’ supervised release
                                       18 U.S.C. § 1752(a)(2)        $2,000 restitution              $2,000 restitution
                                       40 U.S.C. § 5104(e)(2)(D)
                                       40 U.S.C. § 5104(e)(2)(G)
Rodean, Nicholas 1:21-CR-00057-TNM     18 U.S.C. § 1361              57 months’ incarceration        5 years’ probation
                                       18 U.S.C. § 1752(a)(1)        36 months’ supervised release   240 days’ home detention
                                       18 U.S.C. § 1752(a)(2)        $2,048 restitution

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                                        18 U.S.C. § 1752(a)(4)
                                        40 U.S.C. § 5104(e)(2)(D)
                                        40 U.S.C. § 5104(e)(2)(F)
                                        40 U.S.C. § 5104(e)(2)(G)
Head,               1:21-CR-00291-ABJ   18 U.S.C. § 111(a)(1)         96 months’ incarceration        90 months’ incarceration
Albuquerque                                                           36 months’ supervised release   36 months’ supervised release
Cosper                                                                $2,000 restitution              $2,000 restitution
Priola, Christine   1:22-CR-00242-TSC   18 U.S.C. § 1512(c)(2)        18 months’ incarceration        15 months’ incarceration
                                                                      36 months’ supervised release   12 months’ supervised release
                                                                      $2,000 restitution              $2,000 restitution
Mels, James         1:21-CR-00184-BAH   18 U.S.C. § 1752(a)(1)        30 days’ incarceration          36 months’ probation
Allen                                                                 12 months’ supervised release   3 months’ home detention
                                                                      60 hours’ community service     60 hours’ community service
                                                                      $500 restitution                $500 restitution
Clark, Christy      1:21-CR-00218-APM   40 U.S.C. § 5104(e)(2)(G)     4 months’ home detention        24 months’ probation
                                                                      36 months’ probation            60 hours’ community service
                                                                      60 hours’ community service     $500 restitution
                                                                      $500 restitution
Clark, Matthew      1:21-CR-00218-APM   40 U.S.C. § 5104(e)(2)(G)     4 months’ home detention        24 months’ probation
                                                                      36 months’ probation            60 hours’ community service
                                                                      60 hours’ community service     $500 restitution
                                                                      $500 restitution
Spigelmyer, Paul    1:21-CR-00218-APM   18 U.S.C. § 5104 (e)(2)(G)    14 days’ incarceration          24 months’ probation
                                                                      36 months’ probation            45 days’ home detention
                                                                      60 hours’ community service     60 hours’ community service
                                                                      $500 restitution                $500 restitution
Logsdon,            1:22-CR-00023-TFH   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          14 days’ intermittent incarceration
Christopher                                                           36 months’ probation            36 months’ probation
                                                                      60 hours’ community service     $500 restitution
                                                                      $500 restitution
Logsdon, Tina       1:22-CR-00023-TFH   40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          14 days’ intermittent incarceration
                                                                      36 months’ probation            36 months’ probation
                                                                      60 hours’ community service     $500 restitution
                                                                      $500 restitution
Uptmore, Chance     1:21-CR-00149-RCL   40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          30 days’ incarceration
                                                                      36 months’ probation            36 months’ probation

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                                                                      60 hours’ community service     $500 restitution
                                                                      $500 restitution
Uptmore, James      1:21-CR-00149-RCL   40 U.S.C. § 5104(e)(2)(G)     21 days’ incarceration          21 days’ home detention
                                                                      36 months’ probation            36 months’ probation
                                                                      60 hours’ community service     $500 restitution
                                                                      $500 restitution
Brooks, James       1:22-CR-00018-JMC   18 U.S.C. § 1752(a)(1)        3 months’ incarceration         12 months’ probation
                                                                      12 months’ supervised release   60 hours’ community service
                                                                      $500 restitution                $500 restitution
Rivera, Jesus       1:21-CR-00060-CKK   18 U.S.C. § 1752(a)(1)        9 months’ incarceration         8 months’ incarceration
                                        18 U.S.C. § 1752(a)(2)        12 months’ supervised release   12 months’ supervised release
                                        40 U.S.C. § 5104(e)(2)(D)     $500 restitution                $500 restitution
                                        40 U.S.C. § 5104(e)(2)(G)
Horvath, Jennifer   1:22-CR-00192-BAH   40 U.S.C. § 5104(e)(2)(G)     60 days’ incarceration          36 months’ probation
                                                                      36 months’ probation            3 months’ home detention
                                                                      60 hours’ community service     $500 restitution
                                                                      $500 restitution
Faulkner, Troy      1:21-CR-00126-BAH   18 U.S.C. § 1361              5 months’ incarceration         5 months’ incarceration
Elbert                                                                36 months’ supervised release   36 months’ supervised release
                                                                      $10,560 restitution             $10,560 restitution
Yazdani-         1:21-CR-00543-CRC      40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          14 days’ incarceration
Isfehani, Loammi                                                      36 months’ probation            24 months’ probation
                                                                      60 hours’ community service     100 hours’ community service
                                                                      $500 restitution                $500 restitution
Yazdani-            1:21-CR-00543-CRC   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          24 months’ probation
Isfehani, Abigail                                                     36 months’ probation            100 hours’ community service
                                                                      60 hours’ community service     $500 restitution
                                                                      $500 restitution
Yazdani-            1:21-CR-00543-CRC   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          24 months’ probation
Isfehani,                                                             36 months’ probation            100 hours’ community service
Loruhamah                                                             60 hours’ community service     $500 restitution
                                                                      $500 restitution
Kelly, Kash Lee     1:22-CR-00208-JEB   40 U.S.C. § 5104(e)(2)(G)     6 months’ incarceration         60 days’ incarceration
                                                                      $500 restitution                $500 restitution
Ashlock, Ryan       1:21-CR-00160-CKK   18 U.S.C. § 1752(a)(1)        135 days’ incarceration         70 days’ incarceration
                                        18 U.S.C. § 1752(b)(1)(A)     12 months’ supervised release   12 months’ supervised release

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                                                                      60 hours’ community service     100 hours’ community service
                                                                      $500 restitution                $500 restitution
Comeau, Jason       1:21-CR-00629-EGS   40 U.S.C. § 5104(e)(2)(G)     20 days’ incarceration          12 months’ probation
                                                                      36 months’ probation            60 days’ home detention
                                                                      60 hours’ community service     60 hours’ community service
                                                                      $500 restitution                $371 fine
                                                                                                      $500 restitution
Schaefer, Jeffrey   1:22-CR-00069-TFH   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          30 days’ incarceration
                                                                      60 hours’ community service     $2,000 fine
                                                                      $2,000 fine                     $500 restitution
                                                                      $500 restitution
Thompson,           1:21-CR-00161-RBW   18 U.S.C. § 1512(c)(2)        70 months’ incarceration        36 months’ incarceration
Dustin                                  18 U.S.C. § 641               36 months’ supervised release   36 months’ supervised release
                                        18 U.S.C. § 1752(a)(1)        $2,000 restitution              $2,000 fine
                                        18 U.S.C. § 1752(a)(2)                                        $2,000 restitution
                                        40 U.S.C. § 5104(e)(2)(D)
                                        40 U.S.C. § 5104(e)(2)(G)
Evans III,          1:21-CR-00225-DLF   18 U.S.C. § 1752(a)(1)        60 days’ incarceration          36 months’ probation
Treniss                                                               12 months’ supervised release   20 days’ intermittent confinement
                                                                      60 hours’ community service     $5,000 fine
                                                                      $500 restitution                $500 restitution
Castle, Trudy       1:22-CR-00261-CRC   40 U.S.C. § 5104(e)(2)(G)     36 months’ probation            36 months’ probation
                                                                      30 days’ incarceration          $2,000 fine
                                                                      60 hours’ community service     $500 restitution
                                                                      $500 restitution
DiFrancesco,        1:22-CR-00261-CRC   40 U.S.C. § 5104(e)(2)(G)     36 months’ probation            36 months’ probation
Kimberly                                                              30 days’ incarceration          $2,000 fine
                                                                      60 hours’ community service     $500 restitution
                                                                      $500 restitution
Hughes, Joshua      1:21-CR-00106-CKK   18 U.S.C. § 1512(c)(2)        46 months’ incarceration        38 months’ incarceration
                                                                      36 months’ supervised release   36 months’ supervised release
                                                                      $2,000 restitution              $2,000 restitution

Wood, Matthew       1:21-CR-00223-APM   18 U.S.C. § 1512(c)(2)        57 months’ incarceration        12 months’ home detention
                                        18 U.S.C. § 1752(a)(1)        36 months’ supervised release   36 months’ probation
                                        18 U.S.C. § 1752(a)(2)        $2,000 restitution              100 hours’ community service

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                                       40 U.S.C. § 5104(e)(2)(C)                                     $2,000 restitution
                                       40 U.S.C. § 5104(e)(2)(D)
                                       40 U.S.C. § 5104(e)(2)(G)
Manwaring,        1:22-CR-00270-CJN    40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          30 days’ incarceration
Landon                                                               36 months’ probation            35 months’ probation
                                                                     60 hours’ community service     $500 restitution
                                                                     $500 restitution
Panayiotou,       1:22-CR-00055-DLF    40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          14 days’ intermittent confinement
Marcos                                                               36 months’ probation            36 months’ probation
                                                                     $500 restitution                $1,500 fine
                                                                                                     $500 restitution
Wiersma, David    1:21-CR-00592-ABJ    40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          18 months’ probation
                                                                     36 months’ probation            $1,500 fine
                                                                     60 hours’ community service     $500 restitution
                                                                     $500 restitution
Presley, Ronnie   1:21-CR-257-RDM      18 U.S.C. § 231(a)(3)         16 months’ incarceration        12 months’ incarceration
                                                                     12 months’ supervised release   26 months’ supervised release
                                                                     $2,000 restitution              $2,000 restitution
Frankowski,       1:21-CR-00592-ABJ    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          18 months’ probation
Dawn                                                                 36 months’ probation            100 hours’ community service
                                                                     60 hours’ community service     $750 fine
                                                                     $500 restitution                $500 restitution
Buxton, Jonas     1:21-CR-00739-JDB    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          18 months’ probation
                                                                     36 months’ probation            40 hours’ community service
                                                                     60 hours’ community service     $500 fine
                                                                     $500 restitution                $500 restitution
Ianni, Suzanne    1:21-CR-00451-CJN    40 U.S.C. § 5104(e)(2)(D)     30 days’ incarceration          15 days’ incarceration
                                                                     36 months’ probation            30 months’ probation
                                                                     60 hours’ community service     60 hours’ community service
                                                                     $500 restitution                $500 restitution
Tenney, George    1:21-CR-00640-TFH    18 U.S.C. § 231(a)(3)         48 months’ incarceration        36 months’ incarceration
                                       18 U.S.C. § 1512(c)(2)        36 months’ supervised release   36 months’ supervised release
                                                                     $2,000 restitution              $2,000 restitution
Billingsley,      1:21-CR-00519-TFH    18 U.S.C. § 1752(a)(2)        6 months’ incarceration         24 months’ probation
Steven                                                               12 months’ supervised release   60 hours’ community service
                                                                     60 hours’ community service     $500 restitution

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                                                                     $500 restitution
Cantwell, Lewis    1:21-CR-00089-EGS   18 U.S.C. § 231(a)(3)         5 months’ incarceration         5 months’ incarceration
Easton                                 18 U.S.C. § 231(a)(2)         Term of supervised release      36 months’ supervised release
                                                                     $2,000 restitution              $2,000 restitution
Reid, William      1:21-CR-00316-DLF   18 U.S.C. § 1512(c)(1)        78 months’ incarceration        37 months’ incarceration
                                       18 U.S.C. § 1752(a)(1)        36 months’ supervised release   36 months’ supervised release
                                       18 U.S.C. § 1752(a)(2)        $2,443 restitution              $2,443 restitution
                                       40 U.S.C. § 5104(e)(2)(D)
                                       40 U.S.C. § 5104(e)(2)(G)
Allan, Tommy       1:21-CR-00064-CKK   18 U.S.C. § 1512(c)(2)        24 months’ incarceration        21 months’ incarceration
Frederick                              18 U.S.C. § 1512(c)(2)        36 months’ supervised release   36 months’ supervised release
                                                                     $2,000 restitution              $2,000 restitution
Decarlo,           1:21-CR-00073-BAH   18 U.S.C. § 1512(c)(2)        48 months’ incarceration        48 months’ incarceration
Nicholas                                                             36 months’ supervised release   36 months’ supervised release
                                                                     $2,000 restitution              $2,500 fine
                                                                                                     $2,000 restitution
Ochs, Nicholas     1:21-CR-00073-BAH   18 U.S.C. § 1512(c)(2)        51 months’ incarceration        48 months’ incarceration
                                                                     36 months’ supervised release   36 months’ supervised release
                                                                     $2,000 restitution              $5,000 fine
                                                                                                     $2,000 restitution
Gross, Juliano     1:22-CR-00056-APM   40 U.S.C. § 5104(e)(2)(G)     60 days’ incarceration          24 months’ probation
                                                                     36 months’ probation            45 days’ home detention
                                                                     60 hours’ community service     100 hours’ community service
                                                                     $500 restitution                $500 restitution
Sandlin, Ronald    1:21-CR-00088-DLF   18 U.S.C. § 1512(k)           63 months’ incarceration        63 months’ incarceration
                                       18 U.S.C. § 111(a)(1)         36 months’ supervised release   36 months’ supervised release
                                       18 U.S.C. § 111(a)(2)         $20,000 fine                    $20,000 fine
                                                                     $2,000 restitution              $2,000 restitution
Fassell, Marilyn   1:21-CR-00692-CKK   40 U.S.C. § 5104(e)(2)(G)     60 days’ incarceration          30 days’ incarceration
                                                                     36 months’ probation            36 months’ supervised release
                                                                     60 hours’ community service     $500 restitution
                                                                     $500 restitution
Fassell, Thomas    1:21-CR-00692-CKK   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          7 days’ intermittent confinement
                                                                     36 months’ probation            24 months’ probation
                                                                     $500 restitution                $500 restitution
Rossman, Devin     1:22-CR-00280-BAH   40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration         32 days’ intermittent confinement

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                                                                    36 months’ probation            36 months’ probation
                                                                    60 hours’ community service     60 hours’ community service
                                                                    $500 restitution                $2,000 fine
                                                                                                    $500 restitution
Lattanzi,         1:22-CR-00028-TSC    40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration          14 days’ incarceration
Nicholas                                                            36 months’ probation            $500 fine
                                                                    $500 restitution                $500 restitution
Sargent, Troy     1:21-CR-00258-TFH    18 U.S.C. § 231(a)(3)        27 months’ incarceration        14 months’ incarceration
                                       18 U.S.C. § 111(a)(1)        36 months’ supervised release   24 months’ supervised release
                                       18 U.S.C. § 1752(a)(1)       $2,000 restitution              $500 restitution
                                       18 U.S.C. § 1752(a)(2)
                                       18 U.S.C. § 1752(a)(4)
                                       40 U.S.C. § 5104(e)(2)(F)
Council,          1:21-CR-00207-TNM    18 U.S.C. § 231(a)(3)        30 months’ incarceration        60 months’ probation
Matthew                                18 U.S.C. § 111(a)(1)        36 months’ supervised release   6 months’ home detention
                                       18 U.S.C. § 1752(a)(1)       $2,000 restitution              100 hours community service
                                       18 U.S.C. § 1752(a)(2)                                       $2,000 restitution
                                       40 U.S.C. § 5104(e)(2)(D)
                                       40 U.S.C. § 5104(e)(2)(G)
Hendrix,          1:21-CR-00426-CKK    40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration          30 days’ incarceration
Nicholas                                                            36 months’ probation            36 months’ probation
                                                                    60 hours’ community service
                                                                    $500 restitution
Jensen, Douglas   1:21-CR-00006-TJK    18 U.S.C. § 231(a)(3)        64 months’ incarceration        60 months’ incarceration
                                       18 U.S.C. § 1512(c)(2)       36 months’ supervised release   36 months’ supervised release
                                       18 U.S.C. § 111(a)(1)        $2,000 restitution              $2,000 restitution
                                       18 U.S.C. § 1752(a)(1) and
                                       (b)(1)(A)
                                       18 U.S.C. § 1752(a)(2) and
                                       (b)(1)(A)
                                       40 U.S.C. § 5104(e)(2)(D)
                                       40 U.S.C. § 5104(e)(2)(G)
Johnston, David   1:22-CR-00182-BAH    40 U.S.C. § 5104(e)(2)(G)    42 days’ incarceration          21 days’ intermittent incarceration
                                                                    36 months’ probation            3 months’ home detention
                                                                    $500 restitution                36 months’ probation
                                                                                                    $2,500 fine

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                                                                                                     $500 restitution
Capsel, Matthew    1:22-CR-00107-TSC   18 U.S.C. § 231(a)(3)         31 months’ incarceration        18 months’ incarceration
                                                                     36 months’ supervised release   24 months’ supervised release
                                                                     $2,000 restitution              $2,000 restitution
Brodnax,           1:21-CR-00350-DLF   18 U.S.C. § 1752(a)(1)        18 months’ incarceration        5 months’ incarceration
Antionne                               18 U.S.C. § 1752(a)(2)        12 months’ supervised release   12 months’ supervised release
                                       40 U.S.C. § 5104(e)(2)(D)     $500 restitution                $500 restitution
                                       40 U.S.C. § 5104(e)(2)(E)
Johnson Jr,        1:22-CR-00228-JDB   40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          60 days’ home detention
Thaddis                                                              36 months’ probation            24 months’ probation
                                                                     60 hours’ community service     60 hours’ community service
                                                                     $500 restitution                $500 restitution

Grayson,           1:21-CR-00224-TSC   18 U.S.C. § 231(a)(3)         3 months’ incarceration         60 days’ incarceration
Kenneth                                                              36 months’ supervised release   24 months’ supervised release
                                                                     $2,000 restitution              $2,000 restitution
McCormick,         1:21-CR-00710-TSC   18 U.S.C. § 1752(a)(1)        21 days’ incarceration          14 days’ incarceration
Michael G                                                            36 months’ probation            $1,000 fine
                                                                     $500 restitution                $500 restitution
Bronsburg,         1:21-CR-00144-RBW   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          20 days’ incarceration
Tammy                                                                36 months’ probation            24 months’ probation
                                                                     60 hours’ community service     $500 restitution
                                                                     $500 restitution
Bond, Stacy Lee    1:22-CR-00171-JMC   40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          20 days’ home detention
                                                                     36 months’ probation            18 months’ probation
                                                                     60 hours’ community service     50 hours’ community service
                                                                     $500 restitution                $500 restitution
Conlon, Paula      1:22-CR-00171-JMC   40 U.S.C. § 5104(e)(2)(G)     60 days’ incarceration          12 months’ probation
                                                                     36 months’ probation            $500 restitution
                                                                     60 hours’ community service
                                                                     $500 restitution
Hughes, Jerod      1:21-CR-00106-TJK   18 U.S.C. § 1512(c)(2)        51 months’ incarceration        46 months’ incarceration
                                                                     36 months’ supervised release   36 months’ supervised release
                                                                     $2,000 restitution              $2,000 restitution
Holdridge, Brent   1:21-CR-00729-RBW   40 U.S.C. § 5104(e)(2)(G)     60 days’ incarceration          60 days’ incarceration
                                                                     36 months’ probation            36 months’ probation

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                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
Gionet, Anthime     1:22-CR-00132-TNM   40 U.S.C. 5104(e)(2)(G)        75 days’ incarceration          60 days’ incarceration
                                                                       36 months’ probation            24 months’ probation
                                                                       60 hours’ community service     $2,000 fine
                                                                       $500 restitution                $500 restitution
Witzemann,          1:21-CR-00314-TFH   40 U.S.C. § 5104(e)(2)(G)      30 days’ incarceration          24 months’ probation
Shawn                                                                  36 months’ probation            7 days’ incarceration
                                                                       60 hours’ community service     60 hours’ community service
                                                                       $500 restitution                $500 restitution

Hand, Charles III   1:22-CR-111-JEB     40 U.S.C. § 5104(e)(2)(G)      30 days’ incarceration          20 days’ incarceration
                                                                       36 months’ probation            6 months’ probation
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
Robinson-Hand,      1:22-CR-111-JEB     40 U.S.C. § 5104(e)(2)(G)      45 days’ incarceration          20 days’ incarceration
Mandy                                                                  36 months’ probation            6 months’ probation
                                                                       60 hours community service      $500 restitution
                                                                       $500 restitution
Clifton,            1:22-CR-00182-BAH   40 U.S.C. § 5104(e)(2)(G)      21 days’ incarceration          21 days’ intermittent confinement
Chadwick                                                               36 months’ probation            36 months’ probation
Gordon                                                                 $500 restitution                90 days’ home confinement
                                                                                                       $500 restitution
Slaeker, Tyler      1:21-CR-00604-DLF   18 U.S.C. § 1752(a)(1)         3 months’ incarceration         30 days’ home detention
                                                                       12 months’ supervised release   36 months’ probation
                                                                       60 hours’ community service     240 hours’ community service
                                                                       $500 restitution                $500 restitution
Herrera, Erik       1:21-CR-619-BAH     18 U.S.C. § 1512(c)(2)         78 months’ incarceration        48 months’ incarceration
                                        18 U.S.C. § 1752(a)(1)         36 months’ supervised release   36 months’ supervised release
                                        18 U.S.C. § 1752(a)(2)         $2,000 restitution              $1,000 restitution
                                        40 U.S.C. § 5104(e)(2)(D)
                                        40 U.S.C. § 5104(e)(2)(G)
Montalvo,           1:22-CR-00146-RDM   40 U.S.C. § 5104(e)(2)(G)      30 days’ incarceration          36 months’ probation
Matthew                                                                36 months’ probation            3 months’ home detention
                                                                       60 hours’ community service     $5,000 fine
                                                                       $500 restitution                $500 restitution

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Gable, Levi      1:22-CR-00189-JMC     18 U.S.C. § 1752(a)(1)        3 months’ incarceration         24 months’ probation
                                                                     12 months’ supervised release   45 days’ home detention
                                                                     60 hours’ community service     50 hours’ community service
                                                                     $500 restitution                $1,000 fine
                                                                                                     $25 restitution
Faulkner, Luke   1:21-CR-00725-RDM     40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          24 months’ probation
                                                                     36 months’ probation            30 days’ home detention
                                                                     60 hours’ community service     60 hours’ community service
                                                                     $500 restitution                $500 restitution
Andries, John    1:21-CR-00093-RC      18 U.S.C. § 1512(c)(2)        24 months’ incarceration        12 months’ and 1 day incarceration
                                                                     36 months’ supervised release   36 months’ supervised release
                                                                     $2,000 restitution              $2,000 restitution
Rahm, James Jr   1:21-CR-00150-TFH     18 U.S.C. § 1512(c)(2)        21 months’ incarceration        12 months’ incarceration
                                       18 U.S.C. § 1752(a)(1)        36 months’ supervised release   36 months’ supervised release
                                       18 U.S.C. § 1752(a)(2)        $2,000 restitution              $2,000 restitution
                                       40 U.S.C. § 5104(e)(2)(D)
                                       40 U.S.C. § 5104(e)(2)(G)
McGrew, James    1:21-CR-00398-BAH     18 U.S.C. § 111(a)(1)         78 months’ incarceration        78 months’ incarceration
                                                                     36 months’ supervised release   36 months’ supervised release
                                                                     $2,000 restitution              $5,000 fine
                                                                                                     $2,000 restitution
Baugh, Roger     1:22-CR-313-JEB       18 U.S.C. § 231(a)(3)         11 months’ incarceration        12 months’ and 1 day incarceration
Kent                                                                 36 months’ supervised release   24 months’ supervised release
                                                                     $2,000 restitution              $2,000 restitution
Garcia, Jacob    1:22-CR-00118-DLF     40 U.S.C. § 5104(e)(2)(G)     60 days’ incarceration          30 days’ intermittent confinement
                                                                     36 months’ probation            24 months’ probation
                                                                     60 hours’ community service     $500 restitution
                                                                     $500 restitution
Moat, Anthony    1:21-CR-375 - TSC     40 U.S.C. § 5104(e)(2)(D)     21 days’ incarceration          10 days’ incarceration
Richard                                                              36 months’ probation            $500 restitution
                                                                     60 hours’ community service
                                                                     $500 restitution
Hernandez,       1:21-CR-00445-CKK     18 U.S.C. § 1512(c)(2)        18 months’ incarceration        18 months’ incarceration
Andrew Alan                                                          36 months’ supervised release   36 months’ supervised release
                                                                     $2,000 restitution              $2,000 restitution
Young, Philip    1:21-CR-617-DLF       18 U.S.C. § 111(a)(1)         40 months’ incarceration        8 months’ incarceration

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                                       18 U.S.C. § 231(a)(3)        36 months’ supervised release   36 months’ supervised release
                                       18 U.S.C. § 1752(a)(2)       $2,000 restitution              $2,000 restitution
                                       18 U.S.C. § 1752(a)(4)
                                       40 U.S.C. § 5104(e)(2)(D)
                                       40 U.S.C. § 5104(e)(2)(F)
Khater, Julian     1:21-CR-00222-TFH   18 U.S.C. § 111(a)(1) and    90 months’ incarceration        80 months’ incarceration
Elie                                   (b)                          36 months’ supervised release   24 months’ supervised release
                                                                    $2,000 restitution              $10,000 fine
                                                                                                    $2,000 restitution
Tanios, George     1:21-CR-00222-TFH   18 U.S.C. § 1752(a)(1) and   5 months’ and 6 days’           5 months’ and 6 days’ incarceration
                                       (b)(2)                       incarceration                   12 months’ supervised release
                                       18 U.S.C. § 1752(a)(2) and   12 months’ supervised release   $500 restitution
                                       (b)(2)                       250 hours’ community service
                                                                    $500 restitution

Caldwell, Daniel   1:21-CR-00181-CKK   18 U.S.C. § 111(a)(1) and    70 months’ incarceration        68 months’ incarceration
                                       (b)                          36 months’ supervised release   36 months’ supervised release
                                                                    $2,000 restitution              $2,000 restitution
Moynihan,          1:21-CR-00226-CRC   18 U.S.C. § 1512(c)(2)       37 months’ incarceration        21 months’ incarceration
Christopher                            18 U.S.C. § 1752(a)(1)       36 months’ supervised release   36 months’ supervised release
                                       18 U.S.C. § 1752(a)(2)       $2,000 restitution              $2,000 restitution
                                       40 U.S.C. § 5104(e)(2)(A)
                                       40 U.S.C. § 5104(e)(2)(D)
                                       40 U.S.C. § 5104(e)(2)(G)
Hernandez,         1:22-CR-00042-CRC   18 U.S.C. § 231(a)(3)        30 months’ incarceration        24 months’ incarceration
Joshua                                 18 U.S.C. § 111(a)(1)        36 months’ supervised release   36 months’ supervised release
                                                                    $2,000 restitution              $2,000 restitution
Alford, Russell    1:21-CR-00263-TSC   18 U.S.C. § 1752(a)(1)       13 months’ incarceration        12 months’ incarceration
                                       18 U.S.C. § 1752(a)(2)       12 months’ supervised release   12 months’ supervised release
                                       40 U.S.C. § 5104(e)(2)(D)    $500 restitution                $500 restitution
                                       40 U.S.C. § 5104(e)(2)(G)
Haynes, Joshua     1:21-CR-00594-TSC   18 U.S.C. § 1512             36 months’ incarceration        32 months’ incarceration
                                       18 U.S.C. § 1363             36 months’ supervised release   36 months’ supervised release
                                                                    $2,000 restitution              $2,000 restitution
Javid, Iraj        1:22-CR-00077-BAH   40 U.S.C. § 5104(e)(2)(G)    21 days’ incarceration          24 months’ probation
                                                                    36 months’ probation            3 months’ home detention

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                                                                     60 hours’ community service     $500 restitution
                                                                     $500 restitution
Lammons, John     1:22-CR-00103-RCL    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          30 days’ incarceration
                                                                     36 months’ probation            36 months’ probation
                                                                     $500 restitution                $500 restitution
Uberto, Thomas    1:22-CR-00007-TSC    40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          10 days’ incarceration
                                                                     $500 restitution                $500 restitution
Lanham, Melanie   1:22-CR-00102-JDB    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          18 months’ probation
                                                                     36 months’ probation            50 hours’ community service
                                                                     60 hours’ community service     $500 restitution
                                                                     $500 restitution
Seefried, Kevin   1:21-CR-00287-TNM    18 U.S.C. § 1512(c)(2)        70 months’ incarceration        36 months’ incarceration
                                       18 U.S.C. § 1752(a)(1)        36 months’ supervised release   12 months’ supervised release
                                       18 U.S.C. § 1752(a)(2)        $2,000 restitution              $2,000 restitution
                                       40 U.S.C. § 5104(e)(2)(D)
                                       40 U.S.C. § 5104(e)(2)(G)
Gleffe, Marcos    1:21-CR-00698-FYP    40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          60 days’ home detention
                                                                     36 months’ probation            36 months’ probation
                                                                     60 hours’ community service     60 hours’ community service
                                                                     $500 restitution                $500 restitution
Jersey, Justin    1:21-CR-00035-EGS    18 U.S.C. § 111(b)            63 months’ incarceration        51 months’ incarceration
                                                                     36 months’ supervised release   36 months’ supervised release
                                                                     $2,000 restitution              $32,265.65 restitution
Heathcote, Chad   1:22-CR-00232-CJN    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          15 days’ home detention
                                                                     36 months’ probation            36 months’ probation
                                                                     $500 restitution                $500 restitution
Finley, Jeffrey   1:21-CR-00526-TSC    18 U.S.C. § 1752(a)(1)        90 days’ incarceration          75 days’ incarceration
                                                                     12 months’ supervised release   12 months’ supervised release
                                                                     60 hours’ community service     60 hours’ community service
                                                                     $500 restitution                $500 restitution
Manwaring,        1:22-CR-00307-CJN    40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          36 months’ probation
Susan                                                                36 months’ probation            30 days’ home detention
                                                                     $500 restitution                $500 restitution
Baouche, Jeremy   1:21-CR-00733-CRC    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          30 days’ incarceration
                                                                     36 months’ probation            24 months’ supervised release
                                                                     60 hours’ community service     $500 restitution

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                                                                     $500 restitution
Horning, James     1:21-CR-00275-ABJ   18 U.S.C. § 1752(a)(1)        60 days’ incarceration          30 days’ incarceration
                                                                     12 months’ supervised release   12 months’ supervised release
                                                                     60 hours’ community service     60 hours’ community service
                                                                     $500 restitution                $500 restitution
Bustos, Alexis     1:22-CR-00016-CJN   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          24 months’ probation
                                                                     36 months’ probation            $500 restitution
                                                                     60 hours’ community service
                                                                     $500 restitution
Bustos, Bryan      1:22-CR-00016-CJN   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          24 months’ probation
                                                                     36 months’ probation            $500 restitution
                                                                     60 hours’ community service
                                                                     $500 restitution
Myers, Rachel      1:22-CR-00074-JMC   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          24 months’ probation
                                                                     36 months’ probation            60 hours’ community service
                                                                     60 hours’ community service     $500 restitution
                                                                     $500 restitution
Hubbard, Jeffrey   1:21-CR-00737-CJN   40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          45 days’ incarceration
William                                                              36 months’ probation            36 months’ probation
                                                                     60 hours’ community service     $500 fine
                                                                     $500 restitution                $500 restitution

Dickinson,         1:21-CR-00649-JDB   18 U.S.C. § 111(a)(1)         27 months’ incarceration        20 months’ incarceration
Michael                                                              36 months’ supervised release   36 months’ supervised release
                                                                     $2,000 restitution              $2,000 restitution
Grover, Logan      1:21-CR-00374-APM   40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          24 months’ probation
                                                                     36 months’ probation            30 days’ home incarceration
                                                                     60 hours’ community service
                                                                     $500 restitution
Sulenta, Derek     1:22-CR-00340-TSC   40 U.S.C. § 5104 (e)(2)(G)    21 days’ incarceration          14 days’ incarceration
                                                                     36 months’ probation            60 hours’ community service
                                                                     60 hours’ community service     $500 restitution
                                                                     $500 restitution
Miller, Garret     1:21-CR-00119-CJN   18 U.S.C. § 231(a)(3);        48 months’ incarceration        38 months’ incarceration
                                       18 U.S.C. § 111(a)(1);        36 months’ supervised release   36 months’ supervised release
                                       18 U.S.C. § 875(c);           $2,000 restitution

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                                       18 U.S.C. § 1752(a)(1);
                                       18 U.S.C. § 1752(a)(2);
                                       18 U.S.C. § 1752(a)(3);
                                       40 U.S.C. §5104(e)(2)(D);
                                       40 U.S.C. §5104(e)(2)(E);
                                       40 U.S.C. §5104(e)(2)(G);
                                       18 U.S.C. § 231(a)(3)
Cramer, Country   1:22-CR-00339-RDM    40 U.S.C. § 5104(e)(2)(G)     7 days’ incarceration          48 months’ probation
                                                                     36 months’ probation           45 days’ home detention
                                                                     60 hours’ community service    60 hours’ community service
                                                                     $500 restitution               $500 restitution
Cramer, Eric      1:22-CR-00339-RDM    18 U.S.C. § 1752(a)(2)        30 days’ incarceration         8 months’ incarceration
                                                                     36 months’ probation           12 months’ supervised release
                                                                     60 hours’ community service    60 hours’ community service
                                                                                                    $500 restitution
Gordon, Vaughn    1:22-CR-00099-PLF    40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration          36 months’ probation
                                                                    36 months’ probation            3 months’ home detention
                                                                    60 hours’ community service     90 hours’ community service
                                                                    $500 restitution                $500 restitution
Mehaffie, David   1:21-CR-00040-TNM    18 U.S.C. § 111(a)(1) and 2; 64 months’ incarceration        14 months’ incarceration
                                       18 U.S.C. § 231(a)(3);       36 months’ supervised release   24 months’ supervised release
                                       40 U.S.C. § 5104(e)(2)(D),   $2000 restitution
                                       2;
                                       40 U.S.C. § 5104(e)(2)(F),
                                       18:2
Judd, David Lee   1:21-CR-00040-TNM    18 U.S.C. § 111(a)(1) and    90 months’ incarceration        32 months’ incarceration
                                       (b);                         36 months’ supervised release   24 months’ supervised release
                                       18 U.S.C. § 1512(c)(2) and   $2,000 restitution              $2,000 restitution
                                       (2)
Wright, John      1:21-CR-00341-CKK    18 U.S.C. § 1512(c)(2) and   60 months’ incarceration        49 months’ incarceration
Douglas                                2                            36 months’ supervised release   36 months’ supervised release
                                                                    $2,000 restitution              $2,000 restitution
Ashcraft, Neil    1:22-CR-00295-CKK    18 U.S.C. § 641              90 days’ incarceration          80 days’ incarceration
                                       18 U.S.C. § 1752(a)(1)       36 months’ supervised release   36 months’ supervised release
                                                                    $2,000 restitution              $2,000 restitution
Eckerman,         1:21-CR-00623-CRC    18 U.S.C. § 111(a)(1)        24 months’ incarceration        20 months’ incarceration

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Michael                                                                36 months’ supervised release   24 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution
Watson, William     1:21-CR-00513-RBW   18 U.S.C. § 231(a)(3);         46 months’ incarceration        36 months’ incarceration
                                        18 U.S.C. § 1752(a),           36 months’ supervised release   36 months’ probation
                                        (b)(1)(A);                     $12,000 restitution             $12,000 restitution
                                        40 U.S.C. § 5104(e)(2)
Gerwatowski,        1:22-CR-00125-JMC   18 U.S.C. 231(a)(3)            3 months’ incarceration         24 months’ probation
Eric                                                                   36 months’ supervised release   30 days’ home detention
                                                                       $2,000 restitution              60 hours’ community service
                                                                                                       $2,000 restitution
Stevens, Tristian   1:21-CR-00040-TNM   18 U.S.C. § 111(a)(1) and 2    78 months’ incarceration        60 months’ incarceration
                                        18 U.S.C. § 231(a)(3)          36 months’ supervised release   24 months’ supervised release
                                        40 U.S.C. § 5104(e)(2)(D), 2   $2,000 restitution              $2,000 restitution
                                        40 U.S.C. § 5104(e)(2)(F),
                                        18:2
                                        18 U.S.C. § 111(a)(1)
                                        18 U.S.C. § 1752(a)(2)
                                        18 U.S.C. § 1752(a)(4)
Ambrose,            1:22-CR-00302-DLF   40 U.S.C. 5104(e)(2)(G)        21 days’ incarceration          36 months’ probation
Lawrence                                                               60 hours’ community service     $500 restitution
                                                                       $500 restitution
Gordon, John        1:22-CR-00343-RC    18 U.S.C. 231(a)(3)            18 months’ incarceration        6 months’ incarceration
                                                                       36 months’ supervised release   24 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution
Tilley, Todd        1:23-CR-00038-TNM   18 U.S.C. § 1752(a)(1);        14 days’ incarceration          48 months’ probation
                                        18 U.S.C. § 1752(a)(2);        60 hours’ community service     60 hours’ community service
                                        40 U.S.C. § 5104(e)(2)(D);     $500 restitution                $500 restitution
                                        40 U.S.C. § 5104(e)(2)(G)
Irizarry, Elias     1:21-CR-00282-TSC   18 U.S.C. 1752(a)(1)           45 days’ incarceration          14 days’ incarceration
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
Egtvedt, Daniel     1:21-CR-00177-CRC   18 U.S.C. § 111(a)(1);         64 months’ incarceration        42 months’ incarceration
                                        18 U.S.C. § 231(a)(3);         36 months’ supervised release   36 months’ supervised release
                                        18 U.S.C. § 1512(c)(2) &       $2,000 restitution              $2,000 restitution
                                        (2);
                                        18 U.S.C. § 1752(a)(1), (2)

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                                       40 U.S.C. § 5104(e)(2)(D)
Gardner,          1:21-CR-00622-APM    18 U.S.C. § 231(a)(3);         71 months’ incarceration        55 months’ incarceration
Mitchell                               18 U.S.C. § 1512(c)(2) and     36 months’ supervised release   36 months’ supervised release
                                       2;                             $3,500 restitution              $3,500 restitution
                                       18 U.S.C. § 111(a)(1) and
                                       (b);
Bilyard, Aiden    1:22-CR-000034-RBW   18 U.S.C. § 111(a)(1) and      47 months’ incarceration        40 months’ incarceration
Henry                                  (b)                            36 months’ supervised release   36 months’ supervised release
                                                                      $3,500 restitution              $3,500 restitution
Brock, Larry      1:21-CR-00140-JDB    18 U.S.C. § 1512(c)(2) and     60 months’ incarceration
                                       2;                             36 months’ supervised release
                                       18 U.S.C. § 1752(a)(1);        $2,000 restitution
                                       18 U.S.C. § 1752(a)(2);
                                       40 U.S.C. § 5104(e)(2)(A);
                                       40 U.S.C. § 5104(e)(2)(D);
                                       40 U.S.C. § 5104(e)(2)(G);
Shaw, Daniel      1:22-CR-000001-JEB   40 U.S.C. § 5104(e)(2)(G);     30 days’ incarceration          10 days’ incarceration
                                                                      60 hours’ community service     24 months’ probation
                                                                      $500 restitution                $500 restitution
Sills, Geoffrey   1:21-CR-00040-TNM    18 U.S.C. § 2111 and 2;        108 months’ incarceration       52 months’ incarceration
William                                18 U.S.C. § 111(a)(1) and      36 months’ supervised release   36 months’ supervised release
                                       (b);                           $2,000 restitution              $2,000 restitution
                                       18 U.S.C. § 1512(c)(2) and 2
Shough,           1:22-CR-00197-DLF    18 U.S.C. § 231(a)(3)          11 months’ incarceration        6 months’ incarceration
Geoffrey                                                              36 months’ supervised release   12 months’ supervised release
                                                                      $2,000 restitution              200 hours’ community service
                                                                                                      $2,000 restitution
Miller, Adam      1:22-CR-00191-RCL    18 U.S.C. § 1752(a)(1);        21 days’ incarceration          30 days’ incarceration
                                       40 U.S.C. § 5104(e)(2)(G)      36 months’ probation            36 months’ probation
                                                                      60 hours’ community service     $500 restitution
                                                                      $500 restitution
Steiner, Devin    1:22-CR-00191-RCL    18 U.S.C. § 1752(a)(1);        30 days’ incarceration          30 days’ incarceration
                                       40 U.S.C. § 5104(e)(2)(G)      36 months’ probation            36 months’ probation
                                                                      60 hours’ community service     $500 restitution
                                                                      $500 restitution
Dressel, Joshua   1:21-CR-000572-RDM   40 U.S.C. § 5104(e)(2)(G)      45 days’ incarceration          14 days’ incarceration

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                                                                        36 months’ probation            $500 restitution
                                                                        60 hours’ community service
                                                                        $500 restitution
Williams, Riley     1:21-CR-000618-ABJ   18 U.S.C. § 231(a)(3);         87 months’ incarceration        36 months’ incarceration
                                         18 U.S.C. § 111(a)(1);         36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1752(a)(1);        $3,039 restitution              $2,000 restitution
                                         18 U.S.C. § 1752(a)(2);
                                         40 U.S.C. § 5104(e)(2)(D);
                                         40 U.S.C. § 5104(e)(2)(G);
Puma, Anthony       1:21-CR-00454-PLF    18 U.S.C. § 1512(c)(2) and 2   18 months’ incarceration        9 months’ incarceration
                                                                        36 months’ supervised release   24 months’ supervised release
                                                                        $2,000 restitution              $2,000 restitution
Montoya, Samuel 1:21-CR-00336-JDB        40 U.S.C. § 5104(e)(2)(G)      45 days’ incarceration          36 months’ probation
                                                                        36 months’ supervised release   60 hours’ community service
                                                                        60 hours’ community service     120 days’ home detention
                                                                        $500 restitution                $500 restitution
Hopkins, Kasey      1:22-CR-00317-TSC    40 U.S.C. § 5104(e)(2)(G)      4 months’ incarceration         4 months’ incarceration
                                                                        36 months’ probation            24 months’ probation
                                                                        60 hours’ community service
                                                                        $500 restitution
Kenyon, Josiah      1:21-CR-00726-CJN    18 U.S.C. § 111(a)(1) and      88 months’ incarceration        72 months’ incarceration
                                         (b)                            36 months’ probation            36 months’ probation
                                                                        $41,315.25 restitution          $43,315.25 restitution
Price, Shawn        1:22-CR-00106        18 U.S.C. § 231(a)(3)          12 months’ incarceration        12 months’ incarceration
                                                                        36 months’ supervised release   36 months’ supervised release
                                                                        $2,000 restitution              $2,000 restitution
Stallings, Shelly   1:21-CR-00178        18 U.S.C. § 231(a)(3)          51 months' incarceration        24 months' incarceration
                                                                        36 months' supervised release   36 months' supervised release
                                                                        $2,000 restitution
Sanford, Robert     1:21-CR-00086-PLF    18 U.S.C. § 111(a)(1) and      71 months’ incarceration        52 months’ incarceration
                                         (b)                            36 months’ supervised release   36 months’ supervised release
                                                                                                        $5,798 restitution
Weibling, Adam      1:21-CR-00644-RDM    40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration          18 months’ probation
                                                                        36 months’ probation            100 hours’ community service
                                                                        60 hours’ community service     $500 restitution
                                                                        $500 restitution

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Cronin, Kevin     1:22-CR-00233-ABJ    40 U.S.C.§ 5104(e)(2)(D),      30 days’ incarceration          18 months’ probation
                                       (e)(2)(F), (e)(2)(G)           36 months’ probation            60 hours’ community service
                                                                      60 hour’s community service     $500 restitution
                                                                      $500 restitution
Barnhart, Logan   1:21-CR-00035-EGS    18 U.S.C. § 111(a)(1) and      63 months’ incarceration        36 months’ incarceration
                                       (b), and 2                     36 months’ supervised release   36 months’ supervised release
                                                                      $2,000 restitution              $2,000 restitution
Adams, Howard     1:22-CR-358-BAH      18 U.S.C. § 231(a)(3)          12 months’ incarceration        8 months’ incarceration
                                                                      36 months’ supervised release   36 months’ supervised release
                                                                      $2,000 restitution              $2,000 restitution
Dennis, Robert    1:21-CR-00679-JEB    18 U.S.C. § 111(a)(1);         64 months’ incarceration        36 months’ incarceration
Wayne                                  18 U.S.C. § 231(a)(3);         36 months’ supervised release   24 months’ supervised release
                                       18 U.S.C. § 1752(a)(1);        $2,000 restitution              $2,000 restitution
                                       18 U.S.C. § 1752(a)(2),
                                       18 U.S.C. § 1752(a)(4);
                                       40 U.S.C. § 5104(e)(2)(F)
Gillespie,        1:22-CR-60-BAH       18 U.S.C. § 111(a)(1);         87 months’ incarceration        68 months’ incarceration
Vincent                                18 U.S.C. § 231(a)(3);         36 months’ supervised release   36 months’ supervised release
                                       18 U.S.C. § 1752(a)(4);                                        $2,000 restitution
                                       40 U.S.C. § 5104(e)(2)(F)
McCaughey,        1:21-CR-00040-TNM    18 U.S.C.§ 111(a)(1) and 2;    188 months’ incarceration       90 months’ incarceration
Patrick Edward                         18 U.S.C.§ 111(a)(1) and       36 months’ supervised release   36 months’ supervised release
III                                    (b);                           $2,000 restitution              $2,000 restitution
                                       18 U.S.C.§ 1512(c)(2) and 2;
                                       18 U.S.C.§ 231(a)(3);
                                       18 U.S.C.§ 1752(a)(2) and
                                       (b)(1)(A);
                                       18 U.S.C.§ 1752(a)(4) and
                                       (b)(1)(A);
                                       40 U.S.C.§ 5104(e)(2)(D), 2;
                                       40 U.S.C.§ 5104(e)(2)(F)
Sobotka, Weston   1:22-CR-00388-CJN    40 U.S.C. § 5104(e)(2)(G)      21 days’ incarceration          15 days’ incarceration
                                                                      36 months’ supervised release   36 months’ supervised release
                                                                      60 hours community service      $500 restitution
                                                                      $500 restitution
Bender, Luke      1:21-CR-00508-BAH    18 U.S.C.§ 1512(c)(2);         30 months’ incarceration        21 months’ incarceration

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                                        18 U.S.C.§ 1752(a)(1);         36 months’ supervised release   36 months’ supervised release
                                        18 U.S.C.§ 1752(a)(2);         $2,000 restitution              $2,000 restitution
                                        40 U.S.C.§ 5104(e)(2)(A);
                                        40 U.S.C.§ 5104(e)(2)(D);
                                        40 U.S.C.§ 5104(e)(2)(G)
Mitchell, Landon   1:21-CR-00508-BAH    18 U.S.C.§ 1512(c)(2);         30 months’ incarceration        27 months’ incarceration
                                        18 U.S.C.§ 1752(a)(1);         36 months’ supervised release   36 months’ supervised release
                                        18 U.S.C.§ 1752(a)(2);         $2,000 restitution              $2,000 restitution
                                        40 U.S.C.§ 5104(e)(2)(A);
                                        40 U.S.C.§ 5104(e)(2)(D);
                                        40 U.S.C.§ 5104(e)(2)(G)
Allen, Chase       1:22-CR-00361        40 U.S.C. § 5104(e)(2)(F)      14 days’ incarceration          14 days’ incarceration
                                                                       36 months’ supervised release   36 months’ supervised release
                                                                       60 hours community service      $500 restitution
                                                                       $500 restitution
Massie, Kenneth    1:21-CR-00725        40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration          24 months’ supervised release
                                                                       36 months’ supervised release   30 days’ home detention
                                                                       60 hours community service      60 hours community service
                                                                       $500 restitution                $500 restitution
Vargas Santos,     1:21-CR-000047-RDM   18 U.S.C. § 1752(a)(1);        21 days’ incarceration          4 months’ incarceration
Hector                                  18 U.S.C. § 1752(a)(2);        12 months’ supervised release   12 months’ supervised release
                                        40 U.S.C. § 5104(e)(2)(D);     $500 restitution                $500 restitution
                                        40 U.S.C. § 5104(e)(2)(G);
Manley,            1:21-CR-00691-TSC    18: U.S.C. § 111(a)(1) and     57 months’ incarceration        50 months’ incarceration
Christian                               (b);                           36 months’ supervised release   36 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution
Colgan, Joshua     1:22-CR-00224-DLF    40 U.S.C. 5104(e)(2)(G)        30 days’ incarceration          28 days’ incarceration
                                                                       36 months’ probation            36 months’ probation
                                                                       60 hours’ community service     90 days’ home detention
                                                                       $500 restitution                $500 restitution
Hallon, Luis       1:22-cr-00217-DLF    40 U.S.C. § 5104(e)(2)(G)      21 days’ incarceration          24 months’ probation
                                                                       36 months’ probation            60 hours community service
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
Mott, John         1:21-CR-00464-RCL    40 U.S.C. 5104(e)(2)(G)        30 days’ incarceration          30 days’ incarceration
                                                                       36 months’ probation            36 months’ probation

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                                                                        60 hours’ community service     $500 restitution
                                                                        $500 restitution
Nassif, John        1:21-CR-421         18 U.S.C. § 1752(a)(1);         21months’ incarceration         7 months’ incarceration
                                        18 U.S.C. § 1752(a)(2);         60 hours’ community service     12 months’ supervised release
                                        40 U.S.C. § 5104(e)(2)(D);      $500 restitution                $500 restitution
                                        40 U.S.C. § 5104(e)(2)(G)
Brown, Jeffrey      1:21-CR-00178-APM   18 U.S.C.§ 111(a)(1);           70 months’ incarceration        54 months’ incarceration
                                        18 U.S.C.§ 1752(a)(1);          36 months’ supervised release   46 months’ supervised release
                                        18 U.S.C.§ 1752(a)(2);          $2,000 restitution
                                        18 U.S.C.§ 231(a)(3);
                                        40 U.S.C.§ 5104(e)(2)(D)
Gould, John         1:22-CR-00311-RD    40 U.S.C.§ 5104(e)(2)(G)        30 days’ incarceration          12 months’ incarceration
David                                                                   36 months’ supervised release   60 days’ home detention
                                                                        $500 restitution                60 hours’ community service
                                                                                                        $500 restitution
Sandoval,           1:21-CR-195-CKK     18 U.S.C. 1752(a)(1)            90 days’ incarceration          5 months’ incarceration
Deborah                                                                 12 months’ supervised release   12 months’ probation
                                                                        $500 restitution                $500 restitution
Cruz Jr, Lloyd      1:22-CR-00064-RBW   18 U.S.C. 1752(a)(1);           12 months’ incarceration        45 days’ incarceration
                                        40 U.S.C. 5104(e)(2)(G)         12 months’ supervised release   12 months’ supervised release
                                                                        60 hours community service      $500 restitution
                                                                        $500 restitution
Sherrill, Grayson   1:21-CR-00282-TSC   18 U.S.C. 111(a)(1) and (b)     41 months’ incarceration        7 months’ incarceration
                                                                        36 months’ incarceration        12 months’ supervised release
                                                                        $2,000 restitution              $2,000 restitution
Chan, Mick          1:21-CR-00668-TNM   18 U.S.C. § 1752(a)(1)          10 months’ incarceration        3 months’ incarceration
                                        18 U.S.C. § 1752(a)(2)          12 months supervised release    5 months’ home detention
                                        40 U.S.C. § 5104(e)(2)(G)       60 hours’ community service     12 months’ supervised release
                                                                        $500 restitution                $500 restitution
Schwartz, Peter     1:21-CR-00178-APM   18 U.S.C.§ 111(a)(1);           294 months’ incarceration       170 months’ incarceration
                                        18 U.S.C.§ 1752(a)(1);          36 months’ supervised release   36 months’ supervised release
                                        18 U.S.C.§ 1752(a)(2);          $2,000 restitution
                                        18 U.S.C.§ 231(a)(3);
                                        40 U.S.C.§ 5104(e)(2)(D)
Copeland,           1:21-CR-00570-APM   18 U.S.C. § 111(a)(1)           52 months’ incarceration        36 months’ incarceration
Landon                                                                  36 months’ supervised release   36 months’ supervised release

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Pomeroy,          1:22-CR-00183-TSC    40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration          30 days’ incarceration
Michael                                                             36 months’ probation            $500 restitution
                                                                    60 hours’ community service
                                                                    $500 restitution
Speed, Hatchet    1:22-CR-00244-TNM    18 U.S.C. § 1752(a)(1),      48 months’ incarceration        48 months’ incarceration
                                       (a)(2);                      36 months’ supervised release   36 months’ supervised release
                                       40 U.S.C. § 5104(e)(2)(D),   $2,000 restitution              $2,000 restitution
                                       (e)(2)(G)
Jones, Brian      1:22-CR-00205-TJK    40 U.S.C.§ 5104(e)(2)(G)     21 days’ incarceration          36 months’ probation
Raymond                                                             36 months’ probation            $500 restitution
                                                                    60 hours’ community service
                                                                    $500 restitution
King, Patrick     1:22-CR-00205-TJK    40 U.S.C.§ 5104(e)(2)(G)     60 days’ incarceration          36 months’ probation
John                                                                36 months’ probation            $500 restitution
                                                                    60 hours’ community service
                                                                    $500 restitution
Robinson, James   1:22-CR-00267-DLF    40 U.S.C. § 5104(e)(2)(G)    6 months’ incarceration         6 months incarceration
                                                                    36 months’ probation            $500 restitution
                                                                    60 hours’ community service
                                                                    $500 restitution
Colt, Josiah      1:21-CR-00074-DLF    18 U.S.C. § 15 12(c)         18 months’ incarceration        15 months’ incarceration
                                                                    36 months’ probation            36 months’ probation
                                                                    $1000 restitution               $1000 restitution
DeGrave,          1:21-CR-00088-DLF    18 U.S.C. § 1752(a)(1)&;(2), 12 months’ home detention       37 months’ incarceration
Nathaniel                              40 U.S.C. §                  36 months’ supervised release   36 months’ supervised release
                                       5104(e)(2)(D),(E),(F)&;(G)   $2,000 restitution              $2,000 restitution
                                       and
                                       18 U.S.C. § 231(a)(3)
Morrison,         1:21-CR-00334-TJK    18 U.S.C. § 1512(c)(2) and 2 18 months’ incarceration        8 months incarceration
Katharine                                                           36 months’ supervised release   24 months’ supervised release
                                                                    $2,000 restitution              8 months’ home detention
Shalvey, Dale     1:21-CR-00334-TJK    18 U.S.C. § 111(a)(1);       51 months’ incarceration        41 months’ incarceration
Jeremiah                               18 U.S.C. § 1512(c)(2) and 2 36 months’ supervised release   24 months’ supervised release
                                                                    $2,000 restitution
Stottlemyer, Tara 1:21-CR-00334-TJK    18 U.S.C. 1512(c)(2) and 2   18 months’ incarceration        8 months’ incarceration
Aileen                                                              36 months’ supervised release   24 months’ supervised release

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                                                                        $2,000 restitution              8 months’ home detention
Horvath, Ian     1:22-CR-00344-DLF     40 U.S.C. § 5104(e)(2)(G)        30 days’ incarceration          36 months’ probation
                                                                        36 months’ probation            $500 restitution
                                                                        60 hours’ community service
                                                                        $500 restitution
Black, Joshua    1:21-CR-00127-ABJ     18 U.S.C. § 1752(a), (b);        60 months’ incarceration        22 months’ incarceration
                                       40 U.S.C § 5104(e)(2)            36 months’ supervised release   24 months’ supervised release
                                                                        $2,000 restitution              $2,000 restitution
Gerding,         1:21-CR-00131-DLF     40 U.S.C. § 5104(e)(2)(G)        30 days’ incarceration          24 months’ probation
Christina                                                               36 months’ probation            60 hours’ community service
                                                                        60 hours’ community service     $500 restitution
                                                                        $500 restitution
Gerding, Jason   1:21-CR-00131-DLF     40 U.S.C. § 5104(e)(2)(G)        45 days’ incarceration          24 months’ probation
                                                                        36 months’ probation            60 hours’ community service
                                                                        60 hours’ community service     $500 restitution
                                                                        $500 restitution
Kit, William     1:22-CR-00306-JMC     U.S.C. § 18:1752(a)(1);          90 days’ incarceration          60 months’ incarceration
                                       U.S.C. § 18:1752(a)(2)           24 months’ probation            36 months’ supervised release
                                                                        60 hours’ community service     $2,000 restitution
                                                                        $500 restitution
Baquero, Julio   1:21-CR-00702-JEB     18 U.S.C. § 231(a)(3)            27 months’ incarceration        18 months’ incarceration
                                                                        36 months’ supervised release   12 months’ supervised release
                                                                        60 hours’ community service     $2,000 restitution
                                                                        $2,000 restitution
Sirr, Bernard    1:22-CR-00259-TNM     18 U.S.C. § 231(a)(3);           10 months’ incarceration        2 months’ incarceration
                                       1752(a)(1), (a)(4);              36 months’ supervised release   12 months’ supervised release
                                       40 U.S.C. § 5104(e)(2)(D),       $2,000 restitution              $2,000 restitution
                                       (e)(2)(F)
Grider,          1:21-CR-00022-KKK     18 U.S.C. § 1361;                87 months’ incarceration        83 months’ incarceration
Christopher                            18 U.S.C. § 1752(a)(1), (b);     36 months’ supervised release   36 months’ supervised release
                                       40 U.S.C. § 5104(e)(2)           $5,044 restitution              $5,044 restitution
Morss, Robert    1:21-CR-00040-TNM     18 U.S.C.§ 111, 2;               109 months’ incarceration       66 months’ incarceration
                                       18 U.S.C.§ 231(a)(3);            36 months’ supervised release   24 months’ supervised release
                                       18 U.S.C.§ 1212;                 $2,000 restitution              $2,000 restitution
                                       18 U.S.C.§ 1512(c)(2)


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Bokoski, Bradley   1:22-CR-00207-CRC   40 U.S.C. § 5104(e)(2)(G)         14 days’ incarceration          36 months’ probation
                                                                         36 months’ supervised release   150 hours community service
                                                                         60 hours’ community service     $500 restitution
                                                                         $500 restitution
Bokoski,           1:22-CR-00207-CRC   40 U.S.C. § 5104(e)(2)(G)         14 days’ incarceration          36 months’ probation
Matthew                                                                  36 months’ supervised release   100 hours’ community service
                                                                         60 hours’ community service     $500 restitution
                                                                         $500 restitution
Brockhoff,         1:21-CR-00524-KKK   18 U.S.C. 111(a)(1) and (b)                                       36 months’ incarceration
Nicholas J.                                                                                              36 months’ supervised release
                                                                                                         $2,700 restitution
Lints, Luke        1:22-CR-00259-TNM   18 U.S.C. § 231(a)(3)             10 months’ incarceration        4 months’ incarceration
                                                                         36 months’ supervised release   4 months’ home detention
                                                                         $2,000 restitution              $2,000 restitution
Rhodes, Elmer      1:22-CR-00015-APM   18 U.S.C. § 2384;                 300 months’ incarceration       216 months incarceration
Stewart                                18 U.S.C. § 1512(k);                                              36 months supervised release
                                       18 U.S.C. § 1512(c)(2), 2;
                                       18 U.S.C. § 372;
                                       18 U.S.C. § 1361,
                                       18 U.S.C. § 1512
Meggs, Kelly       1:22-CR-00015-APM   18 U.S.C. § 2384;                 252 months’ incarceration       188 months’ incarceration
                                       18 U.S.C. § 1512(k);                                              36 months’ supervised release
                                       18 U.S.C. § 1512(c)(2), 2;
                                       18 U.S.C. § 372;
                                       18 U.S.C. § 1361,
                                       18 U.S.C. § 1512
Watkins, Jessica   1:22-CR-00015-APM   18 U.S.C. § 2384;                 216 months’ incarceration       102 months’ incarceration
                                       18 U.S.C. § 1512(k);                                              36 months’ supervised release
                                       18 U.S.C. § 1512(c)(2), 2;
                                       18 U.S.C. § 372;
                                       18 U.S.C. § 1361,
                                       18 U.S.C. § 1512
Harrelson,         1:22-CR-00015-APM   18 U.S.C. § 2384;                 180 months’ incarceration       48 months’ incarceration
Kenneth                                18 U.S.C. § 1512(k);                                              24 months’ supervised release
                                       18 U.S.C. § 1512(c)(2), 2;

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                                       18 U.S.C. § 372;
                                       18 U.S.C. § 1361,
                                       18 U.S.C. § 1512
Bauer, Pauline    1:21-CR-386-TNM      18 U.S.C. § 1512(c)(2) and 2;     78 months’ incarceration        27 months’ incarceration
                                       18 U.S.C. § 1752(a)(1);           36 months’ supervised release   24 months’ supervised release
                                       18 U.S.C. § 1752(a)(2);           $2,000 restitution              $2,000 restitution
                                       40 U.S.C. § 5104(e)(2)(D);
                                       40 U.S.C. § 5104(e)(2)(G);
Shively, Barton   1:21-CR-00151-JMC    18 U.S.C. § 111(a)(1)             37 months’ incarceration        18 months’ incarceration
Wade                                                                     36 months’ supervised release   36 months’ supervised release
                                                                         $2,000 restitution              $2,000 restitution
Minuta, Roberto   1:22-CR-00015-APM    18 U.S.C. § 2384;                 204 months’ incarceration       54 months’ incarceration
                                       18 U.S.C. § 1512(k);                                              36 months’ supervised release
                                       18 U.S.C. § 1512(c)(2), 2;
                                       18 U.S.C. § 372;
                                       18 U.S.C. § 1361,
                                       18 U.S.C. § 1512
Vallejo, Edward   1:22-CR-00015-APM    18 U.S.C. § 2384;                 204 months’ incarceration       36 months’ incarceration
                                       18 U.S.C. § 1512(k);                                              36 months’ supervised release
                                       18 U.S.C. § 1512(c)(2), 2;                                        12 months home detention
                                       18 U.S.C. § 372;
                                       18 U.S.C. § 1361;
                                       18 U.S.C. § 1512
Hazelton,         1:21-CR-00030-JDB    18 U.S.C. 231(a)(3)               11 months’ incarceration        10 days’ incarceration
Stephanie                                                                36 months’ supervised release   24 months’ supervised release
                                                                         $2,000 restitution              90 days’ home detention
                                                                                                         $2,000 restitution
Mink, Jorden      1:21-CR-000025-RDM   18 U.S.C. § 641;                  64 months’ incarceration        51 months’ incarceration
                                       18 U.S.C. § 2(a)                  36 months’ supervised release   36 months’ supervised release
                                                                         $2,000 restitution              $2,000 restitution
Strand, John      1:21-CR-000085-CRC   18 U.S.C. 1512(c)(2) and 2;       78 months’ incarceration        32 months’ incarceration
                                                                         36 months’ supervised release   36 months’ supervised release
                                                                         $2,000 restitution              $2,000 restitution
Hackett, Joseph   1:22-CR-00015-APM    18 U.S.C. § 2384;                 144 months incarceration        36 months’ incarceration
                                       18 U.S.C. § 1512(k);                                              36 months’ supervised release

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                                       18 U.S.C. § 1512(c)(2), 2;
                                       18 U.S.C. § 372;
                                       18 U.S.C. § 1361;
                                       18 U.S.C. § 1512
Moerschel, David   1:22-CR-00015-APM   18 U.S.C. § 2384;              120 months’ incarceration       36 months’ incarceration
                                       18 U.S.C. § 1512(k);                                           36 months’ supervised release
                                       18 U.S.C. § 1512(c)(2), 2;
                                       18 U.S.C. § 372;
                                       18 U.S.C. § 1361,
                                       18 U.S.C. § 1512
Nix, Gregory       1:21-CR-00678-BAH   18 U.S.C.§ 111(a)(1) and (b)   70 months’ incarceration        42 months’ incarceration
                                                                      36 months’ supervised release   24 months’ supervised release
                                                                      $2,000 restitution              $2,000 restitution
Harris, Johnny     1:21-CR-00274-RDM   18 U.S.C. § 1752(a)(2)         12 months incarceration         7 months’ incarceration
                                                                      12 months’ supervised release   12 months’ supervised release
                                                                      60 hours’ community service     $500 restitution
                                                                      $500 restitution
Goodwyn, Daniel 1:21-CR-00153-RBW      18 U.S.C. § 1752(a)(1)         90 days’ incarceration          60 days’ incarceration
                                                                      36 months’ supervised release   12 months’ supervised release
                                                                      $500 restitution                $500 restitution
Carey, Thomas      1:22-CR-00375-KKK   40 U.S.C. § 5104(e)(2)(G)      60 days’ incarceration          14 days’ incarceration
                                                                      36 months’ probation            36 months’ probation
                                                                      $500 restitution                $500 restitution




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